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   1                          UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA
   2
          NICHOLAS FORD and
   3      ALONZO HAWKINS,
                                                                          CASE NO.:
   4                 Plaintiffs,                                          3:24-cv-00404-MCR
   5      v.
   6      SOUTHERN ROAD & BRIDGE, LLC,
   7                 Defendant.
   8      __________________________________/
   9                               D E P O S I T I O N
 10                                                o f
 11                                      ESEQUIEL RUIZ,
 12                           taken on behalf of Plaintiff
 13
                     DATE:                 April 17, 2025
 14
                     TIME:                 2:02 p.m. to 4:25 p.m. Eastern
 15
                     PLACE:                - VIA REMOTE VIDEOCONFERENCE -
 16
                     BEFORE:               Dawn A. Hillier, RMR, CRR
 17                                        Stenographic Reporter
                                           Notary Public - State of
 18                                        Florida, at Large
 19                  JOB NO:               39561
 20

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   1      APPEARANCES:        ALL PARTIES ATTENDING REMOTELY
   2

   3      ON BEHALF OF PLAINTIFF:
   4                 DANIEL J. BARROUKH, ESQUIRE
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   8
          ON BEHALF OF DEFENDANT:
   9
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 16

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 22       CERTIFIED STENOGRAPHER'S NOTE:                            Exhibits retained by
          counsel.
 23

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   1

   2                             REPORTER'S KEY TO PUNCTUATION:
   3                 --       At end of question or answer references
   4                          interruption.
   5                 ...       References a trail-off by the speaker.
   6                           No testimony omitted.
   7                 "Uh-huh" "Um-hum" References affirmative sound.
   8                 "Huh-uh" "Um-um"              References negative sound.
   9

 10

 11       CERTIFIED STENOGRAPHER'S NOTE: All quotations from
          exhibits are reflected in the manner in which they
 12       were read into the record and do not necessarily
          denote an exact quote from the document.
 13

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   1                                       ESEQUIEL RUIZ,
   2      was called as a witness and, having first been duly
   3      sworn, was examined and testified as follows:
   4                          THE WITNESS:             Yes.
   5                          CERTIFIED STENOGRAPHER:                         Thank you.
   6                                           EXAMINATION
   7      BY MR. BARROUKH:
   8                 Q        Good afternoon, Mr. Ruiz.                           How are you
   9      doing?
 10                  A        Pretty good, sir.
 11                  Q        All right.           Is it -- so my name is Daniel
 12       Barroukh.            You can call me Daniel for the course of
 13       today's deposition.                    I represent the plaintiffs in
 14       this matter, Nicholas Ford and Alonzo Hawkins.                                                 And
 15       Ms. Anna Urie represents Southern Road & Bridge;
 16       okay?
 17                  A        Yes.
 18                  Q        All right.           Is it all right if I refer to
 19       you as "Isaac" for the purposes of today's
 20       deposition?
 21                  A        Yes, sir.
 22                  Q        Okay.      Isaac, have you ever been deposed
 23       before?
 24                  A        No, ma'am -- no, sir.                       I'm sorry.
 25                  Q        No worries.            So there are just a few

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   1      ground rules I want to go over with you for today's
   2      deposition with the goal of making this as quick and
   3      efficient as possible.                    My goal is not to keep you
   4      here for as long as possible or go on and on.                                             My
   5      goal is to get information that you have and move on
   6      with the case; okay?
   7                 A        Yes, sir.
   8                 Q        All right.        The first ground rule is
   9      because we do have a court reporter here who is
 10       taking down everything we're saying, I ask you
 11       provide audible answers; meaning you say yes or no
 12       rather than um-hum or uh-huh or shake your head to
 13       provide a response.                 Does that make sense?
 14                  A        Yes, sir.
 15                  Q        All right.        And the second and most
 16       important rule is, again, because we have a court
 17       reporter here today, I ask that you allow me to
 18       completely finish my question, even though it may
 19       run on a little bit, and I promise I will give you
 20       as much time as you need to completely respond to
 21       the question; okay?
 22                  A        Yes, sir.
 23                  Q        If we interrupt each other, the court
 24       reporter will not be able to take us both down at
 25       the same time and it may ruin the record.

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   1      Understood?
   2                 A        Yes, sir.
   3                 Q        All right.           Now, are you represented by an
   4      attorney today at this deposition?
   5                 A        No, sir.
   6                 Q        Okay.      Were you made aware of any right
   7      you had to get an attorney to be present with you
   8      for today's deposition?
   9                 A        Yes, sir.
 10                  Q        Okay.      And where are you proceeding with
 11       today's deposition?                    Where are you sitting right
 12       now?
 13                  A        I'm in my truck right now at work.
 14                  Q        Okay.      And is that in Texas?
 15                  A        Yes, sir.          It's in Fort Worth.
 16                  Q        In Forth Worth, Texas.                        Okay.         And is
 17       anybody else in the car with you?
 18                  A        No, sir.         I'm alone.
 19                  Q        Okay.      Understood.               And for the purposes
 20       of today's deposition, if there is any document I
 21       would like you to look at, I will present to you and
 22       show you before I ask you questions about the
 23       document.            I'm going to ask you to not look at
 24       anything else on your phone or otherwise; okay?
 25                  A        Yes, sir.

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   1                 Q        Okay.      And, again, like I said, my goal is
   2      not to drag this on for as long as possible, but it
   3      may take a few hours.                      In the event it does take a
   4      few hours, you are allowed -- I want to let you know
   5      that you can ask for breaks, you can ask to get
   6      water, use the restroom, whatever you need.                                              I just
   7      want to make clear that you cannot ask for a break
   8      during a sitting question or during a line of
   9      questioning.            Does that make sense?
 10                  A        Yes, sir.
 11                  Q        Okay.      Is there anything --
 12                  A        There is a -- so I'm at work right now and
 13       I'm doing a -- it's a pretty important job right now
 14       and I'm actually losing money, so I'm just trying to
 15       keep this as short and simple as we can, please.
 16                  Q        Listen, Isaac, I understand your situation
 17       but I also need you to understand that your
 18       testimony today is very important for the purposes
 19       of this case.            This deposition was court ordered as
 20       it was subpoenaed and approved by the parties.                                                 So I
 21       understand your desire to go back to work and that
 22       it may be losing money, but I want to make this go
 23       as quickly as possible as well; okay?
 24                  A        Yes, sir.
 25                  Q        All right.           Now, is there anything that's

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   1      preventing you from testifying clearfully,
   2      truthfully, or honestly here today?
   3                 A        No, sir.
   4                 Q        Okay.      Are you on any medication that may
   5      interfere with your testimony?
   6                 A        No.
   7                 Q        Okay.      And did you do anything to prepare
   8      for today's deposition at all?
   9                 A        No, sir.
 10                  Q        Okay.      Have you spoken to anybody, whether
 11       it's my clients or anybody from Southern Road &
 12       Bridge about this matter?
 13                  A        No, sir.
 14                  Q        Okay.      Now, I want to talk to you,
 15       obviously, you're at work, but you don't work for
 16       Southern Road & Bridge anymore; correct?
 17                  A        No.
 18                  Q        Okay.      Where do you currently work?
 19                  A        I work -- actually, I'm doing my own line
 20       of work, my own contracting deal, framing and
 21       pouring concrete.
 22                  Q        Okay.      And in between working for Southern
 23       Road & Bridge and having your own company, have you
 24       worked at any jobs in between?
 25                  A        Yes.

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   1                 Q        Okay.      So first, I would just like to ask
   2      what the name of your company is and then we'll go
   3      back.
   4                 A        Ruiz Remodeling.
   5                 Q        And are you the CEO?                     Are you a sole
   6      proprietor?            Do you have a title for Ruiz
   7      Remodeling?
   8                 A        No.    No.       It's just self-proprietor.                                Just
   9      myself.
 10                  Q        Okay.      Understood.               And how long have you
 11       been working for -- as your own boss, I guess, at
 12       Ruiz Remodeling?
 13                  A        For about two months.
 14                  Q        Okay.      And where did you work prior to
 15       Ruiz Remodeling?
 16                  A        Trevino Construction.
 17                  Q        Okay.      Could you spell that for me,
 18       please.
 19                  A        T-r-e-v-i-n-o?
 20                  Q        Okay.
 21                  A        T-r-e-v-i-n-o.               Sorry.
 22                  Q        Thank you.           And is Trevino Construction in
 23       Texas as well?
 24                  A        Yes.
 25                  Q        Okay.      And how long did you work for

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   1      Trevino Construction?
   2                 A        About a year.
   3                 Q        And what position did you hold with the
   4      company?
   5                 A        Foreman.
   6                 Q        And did you -- strike that.
   7                          Could you please tell me about your
   8      separation of employment with Trevino Construction.
   9                 A        I just wanted to do my own business, my
 10       own -- try to start my own little, you know -- my
 11       own little jobs and stuff.
 12                  Q        All right.         Were there any issues that you
 13       had at Trevino Construction with regards to your
 14       employment?
 15                  A        No, sir.
 16                           MS. URIE:        Object to form.
 17                           THE WITNESS:           Oh, Jesus.                Excuse me.              I'm
 18                  sorry.
 19       BY MR. BARROUKH:
 20                  Q        No worries.          Bless you.
 21                  A        It's allergies.              I'm sorry.               Thank you.
 22       These allergies.
 23                  Q        No worries.          I can repeat the question, if
 24       you would like.
 25                  A        No.   No, it's fine.

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   1                 Q        Could you please tell me your answer to
   2      the question one more time, then.
   3                 A        No, I didn't -- I just wanted to do my own
   4      thing.
   5                 Q        Okay.      So to be clear, you were not
   6      terminated from Trevino Construction?                                       You left
   7      voluntarily to start your own business; correct?
   8                 A        Yes, sir.
   9                 Q        Okay.      And where did you work prior to
 10       Trevino Construction?
 11                  A        Well, I was just -- I was helping a friend
 12       doing framing and stuff like that.
 13                  Q        Okay.      Would you consider that to be
 14       independent contract work?
 15                  A        Yes, sir.
 16                  Q        Okay.      And do you know if your friend
 17       operated a company, or if you were assisting him
 18       informally?
 19                  A        No.   He just -- he had his own people and
 20       stuff like that to build houses and stuff, so...
 21                  Q        Okay.      And what was your position with
 22       that company?
 23                  A        Just a laborer.
 24                  Q        Okay.      How long did you work for your
 25       friend's company?

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   1                 A        About six months, probably.
   2                 Q        And what made you leave -- or strike that.
   3                          Were you fired from your friend's company,
   4      or did you choose to leave?
   5                 A        No.    I just chose to leave.
   6                 Q        Okay.      And what did you do prior to
   7      working for your friend's company?
   8                 A        Same deal as, like, framing and pouring
   9      concrete here and there.
 10                  Q        Additional independent contractor work.
 11       Is that fair to say?
 12                  A        Yes.
 13                  Q        And how long did you do that for?
 14                  A        For about six, eight months.
 15                  Q        Okay.      And prior to that, where did you
 16       work?
 17                  A        I think that was about it.
 18                  Q        So prior to that second independent
 19       contractor work you told me about, you were working
 20       at Southern Road & Bridge; is that correct?
 21                  A        Yes.
 22                  Q        Okay.      And how long did you work at
 23       Southern Road & Bridge for?
 24                  A        Probably just a little over a year.
 25                  Q        Okay.      And what was your position at the

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   1      company?            And to be clear, when I say --
   2                 A        I --
   3                 Q        Sorry to cut you off.                       When I say "the
   4      company," I'm referring to Southern Road & Bridge.
   5      I may refer to them as "SRB" or "Southern Road";
   6      okay?
   7                 A        Yeah.      Yes, sir.             Foreman.
   8                 Q        All right.           And could you please tell me
   9      about your responsibilities as a foreman for SRB?
 10                  A        Make sure that the jobs weren't losing
 11       money and getting the jobs done --
 12                  Q        Okay.
 13                  A        -- on time.
 14                  Q        All right.           Isaac, if I'm ever looking
 15       down, I don't mean to be disrespectful.                                         I'm just
 16       taking notes; okay?
 17                  A        Yes, sir.
 18                  Q        Now, as a foreman, did you supervise any
 19       staff members or team members?
 20                  A        Yes, sir.          My crew.
 21                  Q        Okay.      And what positions -- strike that.
 22                           How many members of your crew were there
 23       on your team?
 24                  A        I had from six to eight.
 25                  Q        And did you assign these individuals

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   1      schedules or tasks?
   2                 A        Yeah.      I would assign job tasks.                               Some --
   3      every day was a different -- different job task for
   4      everybody.
   5                 Q        And could you tell me about the hierarchy
   6      in terms of supervisory status at Southern Road &
   7      Bridge, if you understand what I mean by
   8      "hierarchy"?
   9                 A        Are you talking about just for, like, my
 10       crew or for the --
 11                  Q        For your crew and as well as yourself in
 12       relation to any higher-ups that you reported to.
 13                  A        Yeah.      It was myself, I was a foreman.
 14       And then I had another guy that was the lead man.
 15       And then from there it was just based off whatever
 16       you knew.            That's kind of where -- what position you
 17       kind of managed better.                        And if you were a concrete
 18       finisher, I kind of had you doing more concrete type
 19       of stuff.            If you were a, you know, painter, I'd --
 20       you know, I'd have you doing more kind of what your
 21       suit -- your strong suit was.
 22                  Q        So is it fair to say that you delegated
 23       the tasks to your crew members?
 24                  A        Yes.
 25                  Q        And would it also be fair to say if a crew

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   1      member was not doing a good job, you could remove
   2      tasks from them?
   3                          MS. URIE:          Object to form.
   4                          THE WITNESS:             Yeah.
   5      BY MR. BARROUKH:
   6                 Q        You can answer the question.                              When
   7      Ms. Urie says, "Objection to form," she just has a
   8      problem with the way I asked the question, but you
   9      can still answer it unless she tells you do not
 10       answer this; okay?
 11                  A        Yes, sir.
 12                  Q        All right.           So what is your response to
 13       the question?
 14                  A        I mean, if -- if there were -- sometimes
 15       if they had -- even if their hand hurted or their
 16       foot hurted and they couldn't, like, pick up
 17       concrete bags or pick up something heavy, well,
 18       yeah, I'd put them on something, you know, lighter,
 19       more -- so they wouldn't hurt themselves or...
 20                  Q        Understood.            And did you have the ability
 21       to pull crew members off of your team for certain
 22       projects?
 23                  A        Yes.
 24                  Q        Okay.      And how did you determine which
 25       crew members to bring on certain projects and which

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   1      crew members to leave behind on certain projects?
   2                          MS. URIE:          Object to form.
   3      BY MR. BARROUKH:
   4                 Q        You can answer.
   5                 A        I always tried to keep everybody working.
   6      If I didn't have enough work for everybody, I'd take
   7      some guys to go work, and the other guys I would
   8      take them to the yard and go clean around and go
   9      pick up trash and -- so everybody could try to get
 10       some hours.
 11                  Q        Understood.            And when you were with
 12       Southern Road & Bridge, you stated that you were the
 13       foreman but above you in the hierarchy was the lead
 14       man; is that correct?
 15                           MS. URIE:          Object to form.
 16                           You can answer.
 17       BY MR. BARROUKH:
 18                  Q        You can answer.
 19                  A        No.   I only had a supervisor above me.
 20                  Q        Okay.      Thank you.
 21                           And what was the name of that supervisor?
 22                  A        Ryan Witt.
 23                  Q        Okay.      And what did Mr. Witt do for your
 24       crew as the supervisor?
 25                           MS. URIE:          Object to form.

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   1                          THE WITNESS:             He made sure that I was
   2                 doing my job.
   3      BY MR. BARROUKH:
   4                 Q        I'm sorry.           Could you repeat that, please?
   5                 A        He made sure that I was doing my job.
   6                 Q        And could you tell me what that -- that
   7      means, please?
   8                 A        Make sure the jobs were being done on
   9      time, they were done to expectations, done in
 10       budget.
 11                  Q        Do you know if Mr. Witt had a supervisor
 12       or an individual that he reported to?
 13                  A        No, I have no clue, sir.                           That was out of
 14       my pay rate so I didn't ask anything like that.
 15                  Q        Understood.            And do you know if Southern
 16       Road & Bridge had an HR team or a human resources
 17       department that you could report to?
 18                  A        Yes, sir, I believe they did.
 19                  Q        Okay.      Do you know the names of those
 20       individuals in the HR department at SRB?
 21                           MS. URIE:          Object to form.
 22                           THE WITNESS:             No, sir.
 23       BY MR. BARROUKH:
 24                  Q        Okay.      You said that you worked for
 25       Southern Road & Bridge for approximately one year as

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   1      a foreman.             How many different individuals did you
   2      supervise during your -- your tenure with the
   3      company?
   4                           MS. URIE:          Object to form.
   5      BY MR. BARROUKH:
   6                 Q         You can answer.
   7                 A         I don't know, sir.                   It's just people come
   8      and go every day.
   9                 Q         Understood.            Understood.
 10                            Now, do you recall -- actually, before we
 11       continue, prior to working for Southern Road &
 12       Bridge, where did you work?
 13                  A         I worked for Mobile Enterprises.
 14                  Q         Okay.      And do you recall the time frame
 15       that you worked for Mobile Enterprises?
 16                  A         No.   No, sir.             It's been a few years back.
 17                  Q         That's fine.             And I want to make it very
 18       clear, for today's deposition, if you do not
 19       remember or you can't recall an answer, that's fine
 20       if you tell me you don't remember or you don't
 21       recall.             Because if you make up an answer just to
 22       make an answer, then it's not helpful for anybody.
 23       So that's completely acceptable if you don't
 24       remember; okay?
 25                  A         Yes, sir.

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   1                 Q        All right.           Prior to working for Southern
   2      Road & Bridge, did you ever hold a supervisor
   3      position at any company?
   4                 A        Yes, sir.          Since I was 18, I was a
   5      foreman.
   6                 Q        Okay.      And approximately how many
   7      individuals did you supervise prior to joining
   8      Southern Road & Bridge?
   9                          MS. URIE:          Object to form.
 10                           THE WITNESS:             About 20.
 11       BY MR. BARROUKH:
 12                  Q        I'm sorry?
 13                  A        Like, over 20.
 14                  Q        And did you ever take any training courses
 15       or complete any -- strike that -- receive any
 16       certifications in supervising individuals?
 17                  A        Yes, sir.
 18                           MS. URIE:          Object to form.
 19       BY MR. BARROUKH:
 20                  Q        And could you tell me about those, please?
 21                  A        We just had to go to classes and make sure
 22       that we were qualified to be training people, to
 23       be -- how to talk to people and how to manage
 24       people, and safety-wise and OSHA requirements, and
 25       everything like that.

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   1                 Q        Okay.      And how old are you, Mr. Ruiz?
   2                 A        Thirty-seven.
   3                 Q        Okay.      And you said you started
   4      supervising people since you were 18 years old; is
   5      that correct?
   6                 A        Yes, sir.
   7                 Q        Now, with regards to the classes you took
   8      in -- specifically for training individuals or
   9      abiding by OSHA requirements, do you recall the
 10       names of any of those classes?
 11                  A        No, sir, I don't.
 12                  Q        Do you remember the most recent class or
 13       training you completed?
 14                  A        No, sir, I don't.
 15                  Q        Okay.      Do you know if you had to do any
 16       classes or trainings for Southern Road & Bridge
 17       while you were there?
 18                  A        No.   No, sir.             I don't remember.
 19                  Q        Okay.      Did you ever receive any training
 20       or certifications with regards to -- strike that.
 21                           Did you receive any trainings from
 22       Southern Road & Bridge with regards to company
 23       policies of harassment, discrimination, and
 24       retaliation?
 25                  A        Yes, sir.

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   1                 Q        Okay.      And what do you recall from those
   2      trainings?
   3                 A        That everybody was a worker and everybody
   4      was to be treated fair no matter race, ethnicity, or
   5      preferences.
   6                 Q        Okay.      And do you believe that during your
   7      time at Southern Road & Bridge everyone was treated
   8      fairly?
   9                          And before you answer this question, I
 10       want to discuss the word "discrimination" with you.
 11       So could you please tell me what you understand
 12       "discrimination" to mean?
 13                  A        To me, discrimination is if somebody likes
 14       the same gender as them or their color or anything
 15       like that, you know, that you're not comfortable
 16       with or you just, like, don't like that, you harass
 17       them or you talk down on them, to me, that's
 18       discrimination.
 19                  Q        Okay.      And sitting here today, do you
 20       remember Southern Road & Bridge's discrimination
 21       policies?
 22                  A        Yes.
 23                           (Overspeaking.)
 24                  Q        And -- understood.                   And what can you tell
 25       me about Southern Road & Bridge's discrimination or

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   1      antidiscrimination policies?
   2                 A        Just the same, that everybody had to be
   3      treated equal, no matter the ethnicity, race, or
   4      gender.
   5                 Q        Okay.
   6                 A        Everybody was -- everyone was to be
   7      treated equal and fair.
   8                 Q        And do you recall during your time with
   9      Southern Road & Bridge any circumstances where
 10       people were not treated equally for any reason?
 11                  A        No.   No, sir.
 12                  Q        Okay.      All right.              Now, do you remember my
 13       clients Alonzo Hawkins and Nicholas Ford?
 14                  A        Yes, sir.
 15                  Q        And what could you tell me about Alonzo
 16       Hawkins, specifically, just Alonzo Hawkins at this
 17       time?
 18                           MS. URIE:          Object to form.
 19       BY MR. BARROUKH:
 20                  Q        You can answer.
 21                           MS. URIE:          What's the --
 22                           THE WITNESS:             He was --
 23       BY MR. BARROUKH:
 24                  Q        I said, you can answer.                         My question was,
 25       what can you tell me about Alonzo Hawkins as a

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   1      person?
   2                 A        He was a good worker.                       He had a thrive to
   3      be great in life.                  He was responsible.                        He was
   4      married.            He had a kid.
   5                 Q        Did you ever have a problem with
   6      Mr. Hawkins on a personal level when you worked with
   7      him?
   8                          MS. URIE:          Object to form.
   9                          THE WITNESS:             No, sir.
 10       BY MR. BARROUKH:
 11                  Q        And did you ever have a problem with
 12       Mr. Hawkins' work as his foreman?
 13                  A        No, sir.
 14                  Q        Okay.      Do you know why Mr. Hawkins no
 15       longer -- strike that.
 16                           Did you continue working at Southern
 17       Road & Bridge after Mr. Hawkins no longer worked for
 18       SRB?
 19                           MS. URIE:          Object to form.
 20       BY MR. BARROUKH:
 21                  Q        You can answer.
 22                  A        I don't remember, sir.
 23                  Q        Do you remember Mr. Hawkins no longer
 24       working for Southern Road & Bridge?
 25                  A        Yeah.      I think he left due to a family

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   1      reason or something like that.
   2                 Q        Okay.
   3                 A        I'm not quite sure.
   4                 Q        Understood.            And to your knowledge, did
   5      Mr. Hawkins ever complain of discrimination?
   6                          MS. URIE:          Object to form.
   7      BY MR. BARROUKH:
   8                 Q        You can answer.
   9                 A        No, sir.
 10                  Q        All right.           And could you please provide
 11       me with your understanding of the word "harassment"?
 12                  A        You could be verbally saying stuff to
 13       people or, like, grabbing them or touching them,
 14       and --
 15                  Q        Okay.
 16                  A        -- judging them because they're a
 17       different race.
 18                  Q        Now, based on your understanding of the
 19       word "harassment," did you ever see anybody be
 20       harassed at Southern Road & Bridge?
 21                  A        No.
 22                  Q        Okay.      And do you -- could you please
 23       provide me with your definition of the word
 24       "retaliation"?
 25                  A        Yeah.      When somebody does something and

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   1      then -- that they don't like, and then other people,
   2      they come back and, you know, try to do something to
   3      them or talk down on them or fire them for any
   4      reason.
   5                 Q        And did you ever see, from your personal
   6      knowledge, Southern Road & Bridge ever retaliate
   7      against any of its employees?
   8                          MS. URIE:          Object to form.
   9                          THE WITNESS:             No.
 10       BY MR. BARROUKH:
 11                  Q        Okay.      Now, you previously told me that
 12       Alonzo was a good worker, he was responsible, and
 13       you did not have any issues with him personally or
 14       his performance; correct?
 15                  A        Yes.
 16                           MS. URIE:          Object to form.
 17       BY MR. BARROUKH:
 18                  Q        Was Mr. Hawkins -- strike that.
 19                           Could you tell me about Mr. Hawkins'
 20       attendance for -- with regards to his work at SRB?
 21                  A        He was there when I needed him to be.
 22                  Q        Okay.
 23                  A        We worked nights.                  And if I called him
 24       early in the morning two or three hours after we
 25       were in bed, "Hey, we've got to go do this, it's an

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   1      emergency, or we've got to go do that," he always
   2      answered his phone.                   He was usually the first ones
   3      to be answering the phone outside.
   4                 Q        Understood.           And the same way you told me
   5      about Mr. Hawkins, could you please tell me about
   6      Mr. Nicholas Ford?
   7                          MS. URIE:         Object to form.
   8                          THE WITNESS:            The same way.
   9      BY MR. BARROUKH:
 10                  Q        Could you please elaborate on that a
 11       little, please?
 12                  A        Well, they're about the same way, except
 13       Nicholas, it was kind of harder to reach him because
 14       he lived in Pensacola.                      He moved out to Pensacola
 15       so, you know, if I have guys that are in the next
 16       room to me, you know, that are there and ready to go
 17       when I need them to, sometimes them -- those
 18       emergencies, they didn't -- they couldn't wait two
 19       or three hours for somebody to show up.
 20                  Q        Understood.           And would you say that
 21       Nicholas Ford was a good worker?
 22                  A        Yes.
 23                  Q        All right.          Isaac, your connection is
 24       breaking up for one second.                           Could you try saying
 25       something just to make sure we can still hear you?

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   1                 A        Yes.     He was a good worker.
   2                 Q        All right.           That's better.
   3                          Would you say that Mr. Ford was responsive
   4      when you texted him or reached out to him?
   5                 A        Yes.
   6                 Q        And would you say that Mr. Ford was a
   7      responsible individual?
   8                          MS. URIE:          Object to form.
   9                          THE WITNESS:             Yeah.
 10       BY MR. BARROUKH:
 11                  Q        All right.           Are you familiar with an
 12       individual named Dezmond Jones?
 13                  A        Yes.
 14                  Q        And could you tell me who Dezmond Jones
 15       was?
 16                  A        He was a cousin, I believe.
 17                  Q        Okay.      And how do you know Dezmond Jones?
 18                  A        He worked for SRB too.
 19                  Q        Okay.      And did he work as a crew member in
 20       your team?
 21                  A        Yes.
 22                  Q        Okay.      Could you describe Mr. Jones' work,
 23       please?
 24                  A        He was responsible to me.                           He was there
 25       when he needed to be there.

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   1                 Q        Understood.          Now, how often did Mr. Ryan
   2      Witt appear on the job site with you and your crew?
   3                 A        He would pop up, you know, whenever he
   4      needed to be there, or in case I needed something,
   5      or I needed material, or something wasn't right, I'd
   6      give him a call and he'd show right back up.                                             Or
   7      he'd show up right before we went to work just to
   8      give us a, you know -- a briefing of the job, what
   9      we were going to do, and the dangers of the job that
 10       was there.
 11                  Q        And at any point, did Mr. Witt receive
 12       complaints -- or strike that.
 13                           At any point, did you receive complaints
 14       from your crew members about Mr. Witt?
 15                  A        No.
 16                  Q        And did you ever hear Mr. Witt make
 17       inappropriate comments to your team members?
 18                           MS. URIE:        Object to form.
 19                           MR. BARROUKH:            Off the record, please,
 20                  Dawn.
 21                           CERTIFIED STENOGRAPHER:                       Yes.
 22                           (Off the record.)
 23                           CERTIFIED STENOGRAPHER:                       Okay.          Back on.
 24       BY MR. BARROUKH:
 25                  Q        Isaac, did you ever hear Mr. Witt say

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   1      anything inappropriate to your crew or to yourself?
   2                          MS. URIE:          Object to form.
   3                          THE WITNESS:             No, sir.
   4      BY MR. BARROUKH:
   5                 Q        All right.           Do you believe Mr. Witt
   6      behaved in a professional manner when he worked at
   7      your -- or when he appeared on your job sites?
   8                          MS. URIE:          Object to form.
   9                          THE WITNESS:             Yes, sir.
 10       BY MR. BARROUKH:
 11                  Q        Now, from what you told me, you can ask
 12       your crew members to appear at a job site or perform
 13       certain tasks.               Were you responsible for tracking
 14       your crew members' hours?
 15                  A        Yes, sir.
 16                  Q        Okay.      Was anybody else responsible for
 17       tracking these crew members' hours?
 18                  A        Sometimes it follows -- it was really,
 19       really rare, but Ryan.
 20                  Q        And who --
 21                  A        And sometimes he'd go do something besides
 22       me, and stuff like that, he would write down their
 23       hours.
 24                           He would take their time sheets and they
 25       had their hours.

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   1                 Q        Understood.            And who made sure that you
   2      and your crew members were paid properly?
   3                 A        I would hand my time sheets in to Ryan.
   4                 Q        So just so I understand, you would collect
   5      the time sheets and present them to Ryan, and you
   6      would be paid based on the hours reported in those
   7      time sheets; is that correct?
   8                          MS. URIE:          Object to form.
   9                          THE WITNESS:             Yes, sir.
 10       BY MR. BARROUKH:
 11                  Q        I'm sorry.           What was your response?
 12                  A        Yes, sir.
 13                  Q        Okay.      Were you also responsible for
 14       assigning the task of driving a company truck to
 15       your crew members?
 16                           MS. URIE:          Object to form.
 17                           THE WITNESS:             Yes.        If they didn't have a
 18                  driver's license, they couldn't be driving
 19                  vehicles.
 20       BY MR. BARROUKH:
 21                  Q        Was there anything else that prevented
 22       these crew members from driving a company truck?
 23                  A        No, sir.
 24                  Q        Okay.      Do you know if driving the company
 25       truck counted towards your hours for the week?

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   1                 A        No, sir.
   2                 Q        Okay.      Would you also be able to allow any
   3      of your crew members to take a lunch break or drive
   4      to and from a job site to buy lunch?
   5                 A        Yes.
   6                 Q        Okay.      Would you ever deny any of your
   7      crew members the ability to buy lunch or to take a
   8      lunch break?
   9                 A        No, sir.
 10                  Q        Okay.
 11                  A        We would all -- we would all go eat
 12       together.
 13                  Q        Okay.      Now, my clients alleged in their
 14       lawsuit that they were not paid all of the hours
 15       that they were worked.                       Do you understand that?
 16                  A        Yes.
 17                  Q        Do you know why that is a claim my clients
 18       are making?
 19                  A        I have no clue.
 20                  Q        Okay.      Now, I would like to represent to
 21       you that I previously deposed Mr. George Pappas
 22       several weeks ago.                   Do you know who George Pappas
 23       is?
 24                  A        Yes.
 25                  Q        Okay.      Now, at Mr. Pappas's deposition, I

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   1      discussed time sheets that were provided to the
   2      company by yourself.                    Do you understand?
   3                 A        Yes.
   4                 Q        Now, at this deposition, Mr. Pappas told
   5      me that a lot of the time sheets you gave to him
   6      were forged and fraudulently signed.
   7                          MS. URIE:         Object to --
   8      BY MR. BARROUKH:
   9                 Q        Do you understand?
 10                           MS. URIE:         Object to form.
 11                           THE WITNESS:            No, sir.             I have no
 12                  knowledge of that.
 13       BY MR. BARROUKH:
 14                  Q        All right.          And I'm going to go ahead and
 15       show you what I'm marking as Plaintiff's Exhibit 1.
 16                           (Exhibit 1 was marked.)
 17       BY MR. BARROUKH:
 18                  Q        Let me know when you can see the document,
 19       and I'm happy to zoom in or zoom out for you; okay?
 20                  A        Yes, I can see it.
 21                  Q        Do you know what this document is?
 22                  A        Yes.
 23                  Q        And what is this document?                           And here is
 24       the full document.
 25                  A        Time sheets.

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   1                 Q        Okay.      And were you -- strike that.
   2                          Was this a recurring time sheet, or was
   3      this an independent time sheet?
   4                 A        Those are independent ones.
   5                 Q        All right.           Did Southern Road & Bridge
   6      require these time sheets be signed every day?
   7                 A        Yes.
   8                 Q        Now, as you can see, it states, "Payroll
   9      must be turned in every Monday before 12:00 p.m.,
 10       identify a.m. or p.m."
 11                           You see that?
 12                  A        Sir, my phone is about to die.                                 Let me go
 13       get my charger real quick.                           Hello?
 14                  Q        Yes.     That's fine.
 15                           MR. BARROUKH:              Off the record, please.
 16                           CERTIFIED STENOGRAPHER:                         Okay.          Off the
 17                  record.
 18                           (Off the record.)
 19                           CERTIFIED STENOGRAPHER:                         Okay.          Back on.
 20       BY MR. BARROUKH:
 21                  Q        All right.           Isaac, I'm showing you what
 22       I've marked as Plaintiff's Exhibit 1.                                       And, again,
 23       these are time sheets throughout my clients' tenure
 24       with the company.                  It's 143 documents.                        I'm just
 25       showing you, I'm scrolling through them now, but

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   1      they're all time sheets.                         Do you understand?
   2                 A        Yes, sir.
   3                 Q        Could you tell me what the purpose of
   4      these time sheets was for?
   5                 A        To make sure that everybody was getting
   6      paid, and that way everybody, if they wanted to see
   7      their time sheets, they could see them, make sure
   8      they were getting paid.
   9                 Q        All right.           And over here, it asks for the
 10       "First and last name."                       Who was that for?
 11                  A        For the workers.
 12                  Q        And on the right, it says "Employee
 13       signature."            Would that be for the workers to sign
 14       next to their name?
 15                  A        Yes.
 16                  Q        Okay.      And the numbers at least appear to
 17       be written in the same handwriting.                                     Do you know if
 18       the workers would individually write their time for
 19       their in and out hours?
 20                  A        The time -- the time in and out, I would
 21       fill out to make sure -- because sometimes people
 22       would work different hours and stuff like that.                                                  But
 23       yes.
 24                  Q        Okay.
 25                  A        You had said that George had said that --

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   1      something about forging stuff.                              How did you -- do
   2      you have a paperwork or something showing that?
   3                 Q        So I do not have the transcript of the
   4      deposition but I can represent to you that that was
   5      his testimony.              However, I would like to show you
   6      some additional documentation which may provide
   7      insight on that; okay?
   8                          Now, for example, I'm on page number 22 of
   9      Exhibit 1.            And I would like to highlight or
 10       represent that that is, again, a time sheet from
 11       Southern Road & Bridge that was produced to my
 12       office by SRB's attorney's office.                                    Do you
 13       understand?
 14                  A        Yes.
 15                  Q        Now, on this time sheet, there are a few
 16       things I noticed about the time sheets.                                        First is
 17       that, in Mr. Ford's last name, the "F" doesn't have
 18       the second dash.                But the second thing I noticed is
 19       that Alonzo's name is spelled incorrectly.                                            It's
 20       spelled Alanzo.
 21                           Do you see that?
 22                           MS. URIE:         Object to form.
 23       BY MR. BARROUKH:
 24                  Q        You can answer.
 25                  A        I can't see it on my phone.

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   1                 Q        Can you see that now?
   2                 A        Yes.
   3                          MS. URIE:          Object to form.
   4      BY MR. BARROUKH:
   5                 Q        All right.           And do you see that it is
   6      spelled A-l-a-n-z-o?
   7                 A        Well, it appears to be an "A."                                 I mean, it
   8      could be an "O" if it's...
   9                 Q        Okay.      Now --
 10                  A        It's hard for me to read my own
 11       handwriting.
 12                  Q        Understood.            Now, this time sheet is dated
 13       on May 18th of 2023.
 14                           Do you see that?
 15                  A        Yes.
 16                  Q        Now, I'm going to go ahead and scroll to
 17       May 19th of 2023.                  This is the next day.                           It's the
 18       next day's time sheet.                       And I want to bring your
 19       attention, again, to the "F" in Ford, the second
 20       dash is missing.                 And, again, it appears as if in
 21       Alanzo's name, rather than an A-l-o-n-z-o, it is
 22       spelled A-l-a-n-z-o.
 23                           Do you see that?
 24                           MS. URIE:          Object to form.                    It clearly has
 25                  the second dash up above the -- on the top of

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   1                 the "F."
   2                          THE WITNESS:             Yeah?
   3                          MS. URIE:          Scroll up.               Scroll up.               Right
   4                 there.      That's the second dash.                            There's --
   5                          MR. BARROUKH:              All right.               I do see that.
   6                 Thank you.
   7      BY MR. BARROUKH:
   8                 Q        Do you see Alonzo's name is again spelled
   9      within a "A" instead of an "O" in the middle?
 10                  A        Sir, you have confused me because you were
 11       saying that it wasn't there, and then you scrolled
 12       into it.            I mean, you've seen it personally there
 13       so, you know, I can't -- I can't say yes or no --
 14                  Q        That's fine as to Mr. Ford's spelling.                                         I
 15       understand that, and I can agree with you there.
 16       Now I'm asking specifically about the spelling in
 17       Alonzo's name.
 18                           Do you see that?
 19                  A        I mean, it's just like you said, you
 20       didn't see a dash.                   That might be an "O."                           To me, it
 21       could be an "O."                 It could be an "A."                        It could be
 22       an "I."
 23                  Q        Okay.      And, again, I'll go to the next day
 24       on May 21st.            Again, they appear the exact same way
 25       with Mr. Ford's second dash appearing on the line.

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   1      And then Mr. Hawkins' first name spelled with an "A"
   2      instead of an "O."
   3                          Do you see that?
   4                          MS. URIE:         Object to form.
   5      BY MR. BARROUKH:
   6                 Q        You can answer.
   7                 A        Yeah, it looks -- it looks the same as the
   8      other one.
   9                 Q        Correct.        Now, I'm going to scroll down
 10       to -- let's do another page.                            Let's see.
 11                           Now, this is nearly one month later on
 12       June 12th of 2023.
 13                           Do you see that?
 14                  A        Yes.
 15                  Q        And it's the same document form as it's a
 16       time sheet from Southern Road & Bridge.                                        Do you
 17       understand?
 18                  A        Yes.
 19                  Q        And, again, Mr. Hawkins' first name
 20       appears to be spelled A-l-a-n-z-o.                                    Do you
 21       understand?
 22                  A        Yes.
 23                  Q        Now, these are just three of many time
 24       sheets that I've shown you which appear to have
 25       Mr. Hawkins' name spelled incorrectly in the exact

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   1      the same way, almost appearing identical and uniform
   2      as if they were copied and pasted or scanned on a
   3      computer to be copied.                    Do you understand?
   4                          MS. URIE:       Object to form.
   5                          THE WITNESS:          Yes.
   6      BY MR. BARROUKH:
   7                 Q        Did you ask Mr. Hawkins and Mr. Ford each
   8      and every date to fill out a new time sheet, or did
   9      you ever reuse a time sheet to have filled out?
 10                  A        I mean, everybody signed their names.
 11                           MS. URIE:       Object to form.
 12       BY MR. BARROUKH:
 13                  Q        I'm sorry?
 14                  A        Their names are signed right there so they
 15       signed them.
 16                  Q        All right.        Now, with regards to --
 17                  A        I mean, me, before I sign a paper, I've
 18       got to kind of read it and make sure everything is
 19       correct because who knows what the fine print could
 20       say or what it won't.                   So I'm not going to sign
 21       something unless I'm sure it's correct.                                      So if they
 22       signed it, that means they were aware of what
 23       they're signing.
 24                  Q        Understood.         And you also see, for
 25       example, that the dot -- let's say in the line of

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   1      Mr. Hawkins' name and signature, there's a dot that
   2      appears in the same exact spot on each and every one
   3      of these time sheets.                      It's not even marginally
   4      different.            It's the same exact dot.
   5                          Do you see that?
   6                          MS. URIE:          Object to form.
   7                          THE WITNESS:             No, sir, I don't.
   8      BY MR. BARROUKH:
   9                 Q        Okay.      Regardless -- well, would you like
 10       me to zoom in for you so you can see it or no?
 11                  A        No.   That's fine.
 12                  Q        Okay.      Now, with regards to what I was
 13       telling you previously, Mr. Pappas -- Mr. George
 14       Pappas specifically mentioned and testified to such
 15       that he had a meeting with you asking about these
 16       time sheets, and Mr. Pappas told me you had admitted
 17       to forging these time sheets.                              Do you understand?
 18                           MS. URIE:          Object to form.
 19       BY MR. BARROUKH:
 20                  Q        Not that you committed forgery, but do you
 21       understand that that is what Mr. Pappas told me?
 22                           MS. URIE:          Object to form.
 23                           THE WITNESS:             I would like to see that
 24                  paper or that text or that phone call, hear
 25                  that phone call --

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   1      BY MR. BARROUKH:
   2                 Q        All right.        What would --
   3                 A        -- where he is saying that I would do
   4      that, that I did that?
   5                 Q        Does Mr. Pappas have a reason to lie about
   6      that?
   7                          MS. URIE:       Object to form.
   8                          THE WITNESS:          No, I wouldn't -- I wouldn't
   9                 think, but I wouldn't -- personally, from my --
 10                  for me to answer that question, I would like to
 11                  see that or read it or hear it.
 12       BY MR. BARROUKH:
 13                  Q        All right.
 14                  A        His accusation, I mean, that's -- that's
 15       something -- that's something pretty big, without me
 16       having any proof.               So I won't accuse anybody of
 17       anything unless I'm sure or have proof of it.
 18                           MR. BARROUKH:           Okay.         Let's take a
 19                  five-minute break.               Let's come back at 3:00.
 20                           CERTIFIED STENOGRAPHER:                      Okay.          Off the
 21                  record.
 22                           (A brief recess is had from 2:56 p.m. to
 23                  3:30 p.m.)
 24                           CERTIFIED STENOGRAPHER:                      Okay.          Back on
 25                  the record.

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   1      BY MR. BARROUKH:
   2                 Q        Isaac, I'm going to go ahead and show you
   3      what I'm marking as Plaintiff's Exhibit 2.
   4                          (Exhibit 2 was marked.)
   5      BY MR. BARROUKH:
   6                 Q        All right.          Now, this is the transcript of
   7      the remote deposition of George Pappas.                                        Do you
   8      understand?
   9                 A        Yes.
 10                  Q        All right.
 11                  A        Can you zoom in?                It's, like, really,
 12       really small.              I can't see that.                     I don't have my
 13       glasses.
 14                  Q        That's fine, sir.                 I'll zoom in for you.
 15       Now, I want to bring your attention to page 53 and
 16       the start of 54; okay?
 17                  A        Yes, sir.
 18                  Q        Now, right above page 54, the question
 19       that is asked to George Pappas is, "George, do you
 20       know who signed my clients' signatures on these time
 21       sheets?"
 22                           Do you see that?
 23                  A        Yes.
 24                  Q        He goes, "I believe it was Enrique Ruiz,
 25       Esequiel Ruiz or Ryan with it."

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   1                          Do you see that?
   2                 A        Yes.
   3                 Q        Now, that's a little bit incomprehensible.
   4      However, I got, "Okay."                       And Mr. Pappas goes, "I
   5      cannot answer exactly.                      The foreman or
   6      superintendent."
   7                          Do you see that?
   8                 A        Um-hum.
   9                 Q        Now, I continue to ask --
 10                  A        What I also -- what I also see is that he
 11       said, "Enrique."                That could have been someone else.
 12       That's not my name.
 13                  Q        Understood.           And I will --
 14                  A        We're going back to --
 15                  Q        -- and we'll get to that.
 16                  A        -- we're going back to, like, how you said
 17       Alonzo with the "A" or the "O" or something like
 18       that, so...
 19                  Q        And I'll get to that for you.
 20                           Now, I go, "When did you discover my
 21       clients' signatures were being forged on the time
 22       sheets?"
 23                           He goes, "After they told me.                              And that's
 24       when I did a written warning to both -- to both the
 25       foreman and the superintendent that this is not

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   1      tolerable and next time they would be fired,
   2      terminated."
   3                          Do you see that?
   4                          MS. URIE:          Object to form.
   5      BY MR. BARROUKH:
   6                 Q        Do you see it?
   7                 A        I see that, yes.
   8                 Q        Okay.      Now --
   9                          MS. URIE:          Has this transcript been
 10                  verified by Mr. Pappas?
 11                           MR. BARROUKH:              This -- this was not.                           This
 12                  is what the court reporting service provided to
 13                  me in my request at this time to have a
 14                  transcript.
 15                           MS. URIE:          So is this considered -- so
 16                  this is not a verified transcript by
 17                  Mr. Pappas?
 18                           MR. BARROUKH:              This is what the court
 19                  reporting agency sent to me.                             I'm not sure
 20                  whether this has been verified.                                I believe he
 21                  waived his right to read but, again, I could
 22                  not tell you at this time.
 23       BY MR. BARROUKH:
 24                  Q        Now -- now, again, I asked, "And, in fact,
 25       those were the only two individuals response for

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   1      completing this form and who knowingly forged my
   2      clients' signatures, either blank or the
   3      superintendent; correct?"
   4                          MS. URIE:       Object --
   5      BY MR. BARROUKH:
   6                 Q        And Mr. Pappas goes, "Correct, Esequiel."
   7                          Do you see that?
   8                          MS. URIE:       Object to form.
   9                          THE WITNESS:          Yes, I see that.
 10       BY MR. BARROUKH:
 11                  Q        All right.        Now, with regards to
 12       Mr. Pappas's statement to that effect, does that
 13       change your prior testimony?
 14                           MS. URIE:       Object to form.
 15                           THE WITNESS:          No, sir.
 16       BY MR. BARROUKH:
 17                  Q        And why is that?
 18                  A        Because I don't know, it's like how you're
 19       saying, I don't know if that paper, how SRB lawyers,
 20       how they're saying if that's a current paper that
 21       Joel has to approve --
 22                           CERTIFIED STENOGRAPHER:                      Counsel, the
 23                  audio is cutting out.
 24                           THE WITNESS:          Yeah.         I don't know if that
 25                  paper is correct, wrote that or said that or

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   1                 any of, like, that.                   I would like to see -- you
   2                 know, personally see that or --
   3      BY MR. BARROUKH:
   4                 Q        Understood.            Now, do you have any
   5      reason --
   6                 A        -- before I -- before I answer anything.
   7                 Q        Sorry to cut you off.                       You can continue.
   8                 A        Yeah.      Before I say anything else, I'd
   9      like to make sure that that paper is legit.
 10                  Q        All right.           Well, I can represent to you
 11       that that was sent to me from the court reporting
 12       agency at this time.                     That is not something my
 13       office created or constructed.
 14                  A        Okay.
 15                  Q        Now, do you have any reason to believe
 16       that Mr. Pappas would have -- would have been lying
 17       if he said either you or Ryan Witt signed my
 18       clients' names on the time sheets?
 19                  A        I don't have a reason why to.                               I mean, he
 20       always -- he was always a pretty -- you know, a
 21       pretty good straightforward person --
 22                  Q        Okay.
 23                  A        -- that I know of, you know.
 24                  Q        And to be clear, you never signed my
 25       clients' names on any daily time sheet --

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   1                 A        No.
   2                 Q        -- for the company?
   3                          MS. URIE:          Object to form.
   4                          THE WITNESS:             I would need something else.
   5                          CERTIFIED STENOGRAPHER:                         If we could speak
   6                 one at a time, please.
   7                          THE WITNESS:             Yeah.         The time sheets that
   8                 I've seen that you showed me right now on
   9                 video, no, sir.
 10       BY MR. BARROUKH:
 11                  Q        And have you ever copied a company time
 12       sheet in a printer that already had my clients'
 13       names and signatures on them and used that as a new
 14       daily time sheet?
 15                           MS. URIE:          Object to form.
 16                           THE WITNESS:             No, sir.
 17       BY MR. BARROUKH:
 18                  Q        Okay.      Now --
 19                  A        I was handed time sheets by Ryan.                                    I
 20       didn't have, like, a book or anything like that.                                                   I
 21       was handed time sheets.
 22                           (Overspeaking.)
 23                  Q        And for any of the time sheets --
 24                           CERTIFIED STENOGRAPHER:                         Counsel, just a
 25                  moment.        We're speaking over each other.

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   1      BY MR. BARROUKH:
   2                 Q        Sorry.       You can continue, Isaac.
   3                 A        No, that's fine.
   4                 Q        Okay.      I was -- I was going to ask, and
   5      did -- do you recall Ryan Witt ever giving you a
   6      time sheet that was already filled out with my
   7      clients' names and signature on them?
   8                 A        I cannot remember.
   9                 Q        Okay.      Did you ever see Ryan Witt sign my
 10       clients' names or signature onto those time sheets?
 11                  A        No, sir.         I never witnessed it.
 12                  Q        Okay.      Did you -- did he tell you if he
 13       ever signed my clients' names onto those time
 14       sheets?
 15                  A        No, sir.
 16                  Q        Okay.      Did you ever have -- did you ever
 17       have issues with your hours when working for
 18       Southern Road & Bridge?
 19                  A        Yes, sir.
 20                  Q        All right.           And could you tell me about
 21       that, please?
 22                  A        You know, sometimes there was a payroll
 23       mistake or something, they forgot to pay me
 24       five hours or three hours or, you know, et cetera,
 25       but, you know, they would -- we would get it paid

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   1      the following week.
   2                          They would fix it -- where I would make
   3      knowledge of it, write it down and, "Hey, I was
   4      short this many hours," and then, "Okay," they said
   5      they would look into it and then, you know -- the
   6      next day.            But like, "Hey, you know what, there was
   7      a payroll error, they forgot to, you know, pay you
   8      three hours or two hours or whatnot."                                       And they
   9      would pay you the following week.
 10                  Q        And how many times --
 11                           (Overspeaking.)
 12                  A        They would always -- every time payroll,
 13       they were -- they were really good about fixing
 14       people's hours.                And if you weren't paid -- you
 15       know, if you were short an hour, 30 minutes, and two
 16       hours, they would fix it.
 17                  Q        Understood.            And how many times did you --
 18       were you not paid the proper amount before the
 19       company had to fix it on the next week's paycheck?
 20                           MS. URIE:          Object to form.
 21                           THE WITNESS:             It wasn't that many.                          I
 22                  can't even remember but it was not -- maybe
 23                  once or twice.
 24       BY MR. BARROUKH:
 25                  Q        Okay.      Understood.               Now, shifting our

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   1      focus from the time sheets and time tracking
   2      situation, I want to bring your focus and attention
   3      to my clients' complaints or general complaints of
   4      discrimination at Southern Road & Bridge.                                           Do you
   5      understand?
   6                          MS. URIE:         Object to form.
   7                          THE WITNESS:            I'm sorry.                What was that?
   8      BY MR. BARROUKH:
   9                 Q        Sir, I want to shift your focus away from
 10       the time sheets and on to discrimination.                                           Do you
 11       understand?
 12                  A        Yes, sir.
 13                  Q        All right.          Now, you previously stated
 14       that you had never seen any acts of discrimination
 15       occur at Southern Road & Bridge; correct?
 16                  A        Yes.
 17                  Q        Do you consider using racially derogatory
 18       language or racial slurs as a form of
 19       discrimination?
 20                  A        Yes.
 21                  Q        And --
 22                  A        But I never seen it on my job site.
 23                  Q        And to be clear, do you believe using the
 24       "N" word in any shape or form to be discriminatory
 25       language?

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   1                 A          I'm sorry.           You'd have to let me know what
   2      the "N" word is because there's a lot of "N" words.
   3                 Q          Sure.
   4                 A          A lot of "N" words.
   5                 Q          Sure.      Do you believe using the word
   6      "nigger" or "nigga" is discriminatory in any shape
   7      or form?
   8                 A          No.   I mean, you shouldn't call people
   9      stuff like that because some people do take offense
 10       to it.              But it would be, like, "Hey, you're white,"
 11       or, "Hey, you're Mexican," some people -- everybody
 12       just reacts to something different.                                       But, no, I
 13       never heard it.
 14                  Q          And did you ever write it to anybody who
 15       worked with you at Southern Road & Bridge?
 16                  A          No.
 17                             MS. URIE:          Object to form.
 18       BY MR. BARROUKH:
 19                  Q          No?
 20                  A          That I remember, no.
 21                  Q          Okay.      Did you ever see anybody call my
 22       clients the "N" word at Southern Road & Bridge?
 23                             MS. URIE:          Object to form.
 24                             THE WITNESS:             No.
 25       BY MR. BARROUKH:

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   1                 Q        All right.           Do you recall --
   2                 A        It's hard to --
   3                          (Overspeaking.)
   4                 A        -- it's hard for me to sometimes remember
   5      somebody's name because in every construction site,
   6      there's -- everybody has a name.                                  It's, like, you
   7      rarely hear somebody being called by their name.
   8      Like, Alonzo, he was called "Trouble."                                        His name was
   9      "Trouble."            When he got to working there, I was,
 10       like, "Hey, what's your name?"                               And he's like, "Oh,
 11       I'm Mexican, I'm Alonzo, my name is Alonzo, but
 12       everybody calls me Trouble, it's easier."                                            I'm,
 13       like, "Oh, okay.
 14                           And Nicholas, his name was "Buck."                                     I have
 15       no reason -- I have no knowledge why they -- his
 16       friends and all that stuff called him "Buck."
 17       That's how -- that's -- you know, everybody just
 18       sticks to -- nicknames are a lot easier to remember
 19       than people's names --
 20                  Q        Do you remember --
 21                  A        -- in construction.
 22                  Q        Do you remember an individual who had the
 23       nickname "Roach"?
 24                  A        Yeah.
 25                  Q        Do you remember an individual who had the

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   1      nickname "Pollo"?
   2                 A        Yes.
   3                 Q        And what about an individual with the
   4      nickname "Joe-Joe"?
   5                          MS. URIE:          Object to form.
   6                          THE WITNESS:             No.
   7      BY MR. BARROUKH:
   8                 Q        Okay.      I'm going to go ahead and show you
   9      what I'm marking as Plaintiff's Exhibit 3.                                             Let me
 10       know when you can see the document.
 11                           (Exhibit 3 was marked.)
 12                           THE WITNESS:             I can see it, but I can't
 13                  see...
 14       BY MR. BARROUKH:
 15                  Q        All right.           I'll represent to you that
 16       this is a text message that we have produced in this
 17       case.          The first text message is from an individual
 18       named Roach.            The second text message appears to be
 19       from yourself.               And if we continue, we have a date,
 20       and then another text message from yourself.
 21                           Do you see that?
 22                  A        Yes.
 23                  Q        Do you recall --
 24                  A        But that's -- that's not -- that's not my
 25       type of, like, writing or spelling like that.

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   1                 Q        Okay.      My question is:                    Do you recall ever
   2      sending this text message?
   3                 A        No, sir.
   4                 Q        Are you confident --
   5                 A        And I wouldn't say --
   6                 Q        I'm sorry.           Just allow me to finish my
   7      question, please.
   8                 A        Yes.
   9                 Q        Are you confident that that is not your
 10       text message that you sent?
 11                           MS. URIE:          Object to form.
 12                           THE WITNESS:             Yes, that is not mine.
 13       BY MR. BARROUKH:
 14                  Q        Okay.      Do you know who else could be --
 15       who this could be, "Isaac" who sent this message?
 16                           MS. URIE:          Object to form.
 17                           THE WITNESS:             No, sir.
 18       BY MR. BARROUKH:
 19                  Q        Okay.
 20                           CERTIFIED STENOGRAPHER:                         Mr. Ruiz, if you
 21                  could pause after a question so you could give
 22                  your attorney an opportunity to object, that
 23                  would be helpful.
 24                           THE WITNESS:             Yes.
 25       BY MR. BARROUKH:

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   1                 Q        All right.          Now, I'm going to show you
   2      what I'm marking as Plaintiff's Exhibit 3 -- or
   3      excuse me, Plaintiff's Exhibit 4.                                  Please let me
   4      know when you can see the document.
   5                          (Exhibit 4 was marked.)
   6      BY MR. BARROUKH:
   7                 Q        Can you see the document?
   8                 A        Yes.
   9                 Q        All right.          I can represent to you that
 10       this is a text message that was produced to the
 11       defendant, Southern Road & Bridge, in this case from
 12       my client, Alonzo Hawkins.                          This includes seven
 13       people in a group chat including somebody named
 14       Isaac, somebody named Roach, and at minimum, Alonzo
 15       Hawkins as well.                Do you understand?
 16                  A        Yes.
 17                           MS. URIE:         Object to form.
 18       BY MR. BARROUKH:
 19                  Q        Now, in this text message from whoever is
 20       listed as "Isaac," I would ask you to take a look at
 21       those messages and let me know when you have read
 22       them.
 23                  A        Yeah, I read them.
 24                  Q        Do you have any knowledge or recollection
 25       of sending these messages?

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   1                          MS. URIE:          Object to form.
   2                          THE WITNESS:             No, sir.
   3      BY MR. BARROUKH:
   4                 Q        And it is your testimony today that these
   5      are not text messages that you sent; correct?
   6                 A        Correct.
   7                 Q        Okay.      Do you know who this could be, who
   8      "Isaac" could be?
   9                 A        No, sir.
 10                  Q        Okay.
 11                  A        Because I would leave -- I would leave my
 12       phone, my personal phone, I would leave it in my
 13       room.          And I only had my other phone with me so I
 14       would -- so I would leave it in the truck in case of
 15       an emergency.            I would leave it -- sometimes I would
 16       leave my phone -- [audio distortion] -- my phone, my
 17       wallet in my company truck, but I never missed money
 18       or anything like that.                       But my personal phone, I
 19       wouldn't carry it with me.
 20                  Q        And why is that important?
 21                  A        Well, because I had -- if it wasn't about
 22       a job while I was at work, I didn't have a reason --
 23       my wife knew that -- my work number so she would
 24       call that because I wouldn't take my phone with me.
 25       So I would leave my company -- my phone, my personal

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   1      one, I would leave it in the truck along with my
   2      wallet and other stuff, blueprints or whatnot.
   3                 Q        Understood.            Now, I'm going to show you
   4      what I'm marking as Plaintiff's Exhibit 5.                                             Let me
   5      know when you can see the document.
   6                          (Exhibit 5 was marked.)
   7                          THE WITNESS:             Can you zoom in, please?
   8      BY MR. BARROUKH:
   9                 Q        That's fine.             Just let me know if you can
 10       see the document.
 11                  A        Yeah, I can see it.
 12                  Q        Okay.      Now, I'm going to represent to you
 13       that this document is four pages long; okay.                                               Here
 14       are all four pages.                    And that this document is a
 15       declaration of Dezmond Jones, and Dezmond Jones has
 16       signed his name on the date November 25th, 2024,
 17       that, "I, Dezmond Jones, declare under penalty of
 18       perjury that the foregoing is true and correct."
 19                           Do you understand?
 20                           MS. URIE:          Object to form.
 21                           THE WITNESS:             Yes.
 22       BY MR. BARROUKH:
 23                  Q        And you recall saying you worked alongside
 24       Dezmond Jones at Southern Road & Bridge; correct?
 25                  A        Yes.

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   1                 Q        Okay.      Now, do you see paragraph number
   2      seven where Dezmond states, "My managers were Isaac
   3      Ruiz and Ryan Witt"?
   4                 A        Um-hum.
   5                 Q        All right.           Paragraph eight, "During my
   6      employment with SRB, Mr. Ford, Mr. Hawkins, and
   7      myself were all subjected to racial discrimination."
   8                          Do you see that?
   9                 A        Yes.
 10                  Q        Paragraph --
 11                  A        And that's kind of weird because
 12       Dezmond --
 13                  Q        I'm sorry, allow me to --
 14                           MS. URIE:          Please allow him to finish his
 15                  answer.
 16       BY MR. BARROUKH:
 17                  Q        Sure.      And I'm just reiterating to Isaac,
 18       you can talk as much as you'd like.                                     When I start a
 19       question, please allow me to answer [sic] it.                                                And
 20       if you want to address something previously, that's
 21       absolutely fine.                 We just need to not cut each other
 22       off; okay?
 23                  A        Yes.
 24                  Q        All right.           Sorry.          You can continue your
 25       testimony, sir.

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   1                 A        That's -- that's awfully weird that he is
   2      saying that they're racially profiled because
   3      Dezmond is their cousin, and he had told me that
   4      Nicholas and Alonzo were used to doing that, working
   5      for companies and trying to sue them for racial
   6      profanity or profiling or -- I don't know what he
   7      said.          He said they had tried to do that once or
   8      twice before already.                      I think they had even won a
   9      case or something like that.
 10                  Q        Okay.      And in paragraph nine --
 11                  A        And Dezmond -- I was not -- I -- I never
 12       terminated him.                He quit on his own because he said
 13       he had family matters back in town.                                     He couldn't go
 14       out of town anymore.
 15                  Q        Okay.      And in paragraph nine, you see in
 16       Dezmond's declaration, it states, "SRB's non-black
 17       employees, including but not limited to Mr. Ruiz,
 18       regularly used the word 'nigger' at work and during
 19       work hours.            The word 'nigger' was used by these
 20       non-black employees in the presence of Mr. Ford,
 21       Mr. Hawkins, and me.                     At times, the word 'nigger'
 22       was directed towards Mr. Ford, Mr. Hawkins, and me."
 23                           Do you see that?
 24                  A        Yes.
 25                  Q        Mr. Ruiz, is this correct?                            Is this a true

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   1      statement?
   2                 A        No.
   3                          MS. URIE:         Object to form.
   4      BY MR. BARROUKH:
   5                 Q        Are you saying that Mr. Jones is lying
   6      about this statement?
   7                          MS. URIE:         Object to form.
   8                          THE WITNESS:            Yes.
   9      BY MR. BARROUKH:
 10                  Q        Why do you think --
 11                  A        Because, like, we were -- all three of us
 12       were never together in the same area.                                      There was --
 13       Dezmond, I had him sometimes going to go pick up
 14       material, bring stuff from the yard, and I had the
 15       other two guys working with someone else.
 16                  Q        Further, in paragraph 11, Dezmond states,
 17       "Mr. Ruiz told black employees that he did not want
 18       them driving company cars."
 19                           Do you see that?
 20                  A        Yes.
 21                  Q        Is that true?
 22                  A        No.    Sir, none of -- none of what I'm
 23       reading right here, that I could see, is true.
 24                  Q        I'd like to represent to you that this is
 25       not only the declaration of Dezmond Jones, but that

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   1      my clients have also alleged similar allegations to
   2      this in their lawsuit.                       Do you understand?
   3                 A         Yes.
   4                           MS. URIE:         Object to form.
   5      BY MR. BARROUKH:
   6                 Q         And Mr. Jones says as well that, "Mr. Ruiz
   7      told black employees that they could not stop to eat
   8      lunch."             And, "Mr. Ruiz told black employees that
   9      they could not use the port-a-potties on the job
 10       sites."
 11                            Do you see that?
 12                  A         Yes, I do.          Oh, God.
 13                  Q         And Mr. Jones continues, "On one occasion,
 14       I saw Mr. Ruiz deny Mr. Hawkins the ability to use
 15       the restroom.               And Mr. Ruiz told Mr. Hawkins to
 16       urinate and defecate beneath one of the bridges we
 17       were performing work on."
 18                            Do you see that?
 19                            MS. URIE:         Object to form.
 20                            THE WITNESS:            Yes.        That -- those are
 21                  liars because they wouldn't even have to ask me
 22                  to use the restroom because the restroom was at
 23                  the yard on the other side of the street.                                           They
 24                  would get in the truck and would just call me
 25                  on the way, "Hey, we went to the restroom real

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   1                 quick."
   2                          "Oh, okay."
   3                          So nobody had to ask for -- or me grab
   4                 them by the hand and walk them to the restroom,
   5                 "Hey, this is the restroom."                             No.       All grown
   6                 men.      You need to go to the restroom, go to the
   7                 restroom.
   8      BY MR. BARROUKH:
   9                 Q        Okay.      Now, Mr. --
 10                  A        About black men not being able to drive,
 11       that was a lie because I had Dezmond drive one --
 12       [audio distortion] -- a little flatbed truck.                                                He
 13       was the driver of that truck.
 14                  Q        Isaac, your internet is breaking out.                                        And
 15       I believe we're missing some valuable testimony, so
 16       let me know when your connection is more stable.
 17                  A        I said I had Dezmond driving a flatbed
 18       truck to bring materials or to carry materials back
 19       to the yard or bring or, et cetera --
 20                  Q        All right.
 21                  A        -- since he had a driver's license.
 22                  Q        Do you know if Nicholas and Alonzo also
 23       had a driver's license?
 24                  A        I believe Nicholas did.
 25                  Q        And did you ask Nicholas and Alonzo to

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   1      drive the truck or perform work with the truck?
   2                 A        Yes.    On the bridge -- while we were on
   3      the bridge, we had lane closure and everything,
   4      sometimes we needed another saw so we'd run to the
   5      yard and go get it.                   Whoever was closest by it,
   6      where we were separated, four and four, three and
   7      three, and they needed some tools or something that
   8      was at the yard, they would go and go get the tools.
   9      Whoever needed the tools, if we didn't have it
 10       there -- I mean, you need tools or materials or
 11       anything to do your job, go get them.
 12                           MS. URIE:         Before you ask any more
 13                  questions, Daniel, I just wanted to point out
 14                  that I wanted to object to that question but I
 15                  didn't want to speak over.                          So I object to the
 16                  question that was answered just now.                                     And I
 17                  will try to get in there before.
 18                           MR. BARROUKH:             Noted.
 19       BY MR. BARROUKH:
 20                  Q        Now, Dezmond continues in paragraph 18
 21       that, "During my employment for SRB, I never signed
 22       a time sheet to confirm the number of hours I
 23       worked."
 24                           In number 19, he states, "I saw a time
 25       sheet from SRB with my signature on it but I told

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   1      Mr. Ruiz that I did not sign the document and that
   2      my listed hours were incorrect."
   3                          Do you see that?
   4                 A        Yes.
   5                          MS. URIE:         Object to form.
   6      BY MR. BARROUKH:
   7                 Q        Do you recall this ever happening?
   8                 A        No.
   9                          MS. URIE:         Object to form.
 10       BY MR. BARROUKH:
 11                  Q        And he continues.                 Dezmond Jones
 12       continues, "I complained to Mr. Ruiz about my
 13       compensation on many occasions because the number of
 14       hours SRB paid me was significantly less than the
 15       number of hours I actually worked."
 16                           And then paragraph 21 continues, "Within
 17       five days of my last complaint to Mr. Ruiz about the
 18       failure to pay me any owed wages, SRB, by and
 19       through Mr. Ruiz, terminated my employment."
 20                           Do you see that?
 21                           MS. URIE:         Object to form.
 22                           THE WITNESS:            Yeah.
 23       BY MR. BARROUKH:
 24                  Q        Is that correct?
 25                  A        No.

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   1                 Q        And why do you say that is not correct?
   2                 A        Because to me it sounded like all of a
   3      sudden Nicholas and Alonzo had a lawsuit about
   4      racism or sexual harassment or, I don't know what
   5      their deal -- or termination or what it was.                                            And
   6      then all of a sudden, it's another guy that's
   7      related to them that told me that they were used to
   8      doing that to other companies, trying to sue them,
   9      and this or that.
 10                           Now it's three saying the exact same
 11       thing, when I was clearly around them for a long
 12       time.          And all three of them usually were pretty
 13       cool with each other.                   And sometimes they even
 14       argued with each other.                     But now all of a sudden,
 15       they're trying to sue somebody, and all three are
 16       saying the same thing.                    That's kind of weird to me.
 17                  Q        And do you know the names of any previous
 18       lawsuits either Mr. Ford or Mr. Hawkins had been
 19       involved in?
 20                  A        No, sir.
 21                  Q        So when you say that they sue companies
 22       for race discrimination, you don't have any actual
 23       evidence of that, do you?
 24                           MS. URIE:       Object to form.
 25                           THE WITNESS:          No, sir, I don't.                       I have --

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   1                 I was told by Dezmond that Nicholas and Alonzo
   2                 used to do that.
   3      BY MR. BARROUKH:
   4                 Q        But you have never tried to confirm
   5      whether that is true or untrue that Mr. Ford and
   6      Mr. Hawkins sue companies for race discrimination;
   7      correct?
   8                          MS. URIE:          Object to form.
   9                          THE WITNESS:             Correct.             That's not my
 10                  concern.      As long as you show up to work and
 11                  you did the job that was assigned to you, that
 12                  was their personal life.                        I didn't get into
 13                  personal lives.
 14       BY MR. BARROUKH:
 15                  Q        Okay.      Now --
 16                  A        Jesus.
 17                  Q        -- do you recall any employee making a
 18       complaint or report to you about discrimination?
 19                  A        No, sir.
 20                  Q        Do you recall any employee making a
 21       complaint or report to you about time keeping and
 22       time sheet error?
 23                  A        No, sir.
 24                           MS. URIE:          Object to form.
 25                           THE WITNESS:             The time sheets were left in

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   1                 the company truck's unit folder.                                So if you
   2                 wanted to see how many hours you got paid the
   3                 week before or the day before or whatnot, the
   4                 time sheets were there.                      You were more than
   5                 welcome to go look at them, fill them out, do
   6                 whatever you wanted to do.                          Or if you said,
   7                 "Hey, I worked nine hours instead of
   8                 eight hours," well, hey, we'd fix them then and
   9                 there.      If the time --
 10                           (Overspeaking).
 11                           So everybody had -- was able to see and
 12                  verify their hours at any given time of the job
 13                  while we were there at work.
 14       BY MR. BARROUKH:
 15                  Q        All right.          Now, I'm going to show you
 16       another document that I'm marking as Plaintiff's
 17       Exhibit 6.
 18                           (Exhibit 6 was marked.)
 19       BY MR. BARROUKH:
 20                  Q        Let me know when you can see the document;
 21       okay?
 22                  A        Yes.
 23                  Q        I can zoom in for you.                       I just want to
 24       confirm that you can see the document; okay?
 25                  A        Yes, I can see it.

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   1                 Q        All right.           Now, again, this is, I can
   2      represent to you, a text message produced by my
   3      client Alonzo Hawkins.                       And I will go through the
   4      message.            The group chat involves six people.                                      And
   5      there's a message from an individual named Isaac, or
   6      who is listed as Isaac.                        Do you see that?
   7                 A        Um-hum.
   8                 Q        Okay.      Now, the message states, "That deal
   9      until I hear or see with my ears or eyes I don't
 10       blame no one cause I don't know who mentioned my
 11       name, it was confidential.                           And as far as him
 12       blaming U and Buck, he has never told me that he
 13       thought or was sure it was ya'll.                                   And ya'll see
 14       that when we had a problem, I got him out of bed and
 15       he went to bridge to clarify that situation.                                               That's
 16       the way it's supposed to be.                             We all men.
 17                           "So I don't know who is saying things
 18       other than Buck.                 The point is to wanna be next
 19       level better, not downgrade.                             And we all know
 20       snitching is ho shit, and you better than us know
 21       that Trouble, your own brother, trying to throw us
 22       under the bus."
 23                           And there's more, but do you see that
 24       message?
 25                           MS. URIE:          Object to form.

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   1                          THE WITNESS:             Yes.
   2      BY MR. BARROUKH:
   3                 Q        Did you send this text message?
   4                 A        No.
   5                 Q        Do you have any knowledge or recollection
   6      of this text message being sent to you?
   7                 A        No.
   8                 Q        Is this the first time you're seeing this
   9      text message?
 10                  A        Yes.
 11                  Q        Okay.
 12                  A        First of all, I don't really even cuss or
 13       anything like that or use curse words so...
 14                           And racism, towards me, I mean, at the
 15       time, I was with a female that was not Mexican.                                                  She
 16       was not black.               She was a white race, and she had
 17       twins that were black.                       So as far as racism, I don't
 18       think that would fly in my boat.
 19                  Q        And would you have reported racist conduct
 20       if you witnessed it at Southern Road & Bridge?
 21                  A        Yeah, I don't -- I don't think that that's
 22       correct.            Like, just because you're black or white
 23       or red or brown or -- I mean, everybody is the same.
 24       We all bleed the same.
 25                  Q        Understood.

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   1                 A        Everybody should be treated equal.
   2                 Q        Sorry.     I did not mean to cut you off.                                    I
   3      think there's a bit of a lag.                            So, again, I
   4      apologize for interrupting.
   5                          Now, have you ever spoken to your crew
   6      while you were at Southern Road & Bridge about
   7      snitching?
   8                 A        No.
   9                 Q        Do you believe that every individual at
 10       Southern Road & Bridge had the right to report and
 11       complain about unlawful activity?
 12                  A        If something is not right or they don't
 13       feel right about something that's not safe or they
 14       fear for their safety, report it.                                 You can save
 15       somebody's life.               Especially us, we're hanging off
 16       the bridge on machineries or on a boat.
 17                           Like, if you see the boat, it's got a hole
 18       and it's sinking and the other person don't see it
 19       because they're doing a job, "Hey, hey, you know
 20       what," tell the person, "Hey, you know what, the
 21       hole -- the boat has got a hole in it, we're
 22       sinking."            Save somebody's life.                      Say something
 23       about it.
 24                  Q        Understood.          Now, when you were working at
 25       SRB, did you ever see any employees use drugs on the

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   1      work site?
   2                 A        No.
   3                 Q        Have you ever used drugs on the work site
   4      while employed by Southern Road & Bridge?
   5                 A        No.    We could -- we could -- we -- we
   6      had -- we could get randomly drug tested any time of
   7      day when we were on the job.                             Our supervisor or the
   8      safety man, they could pull up and, like, "Hey, it's
   9      a random drug testing, you know, for your crew."
 10                  Q        Understood.
 11                           And did you make the decision to leave
 12       Southern Road & Bridge and cease working for
 13       Southern Road & Bridge?
 14                  A        Yes.
 15                  Q        Why did you decide to --
 16                  A        I want -- I wanted to be back home to my
 17       family.
 18                  Q        Okay.      Were you terminated by Southern
 19       Road & Bridge?
 20                  A        Yes, I quit.
 21                  Q        So you were not terminated by Southern
 22       Road & Bridge; correct?
 23                           MS. URIE:          Object to form.
 24       BY MR. BARROUKH:
 25                  Q        Isaac, can you hear me?

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   1                 A        Yes.     I'm sorry.              The connection kind of
   2      wipes out.
   3                 Q        No problem.
   4                          So do you recall having a meeting with
   5      George Pappas about time sheets in or around
   6      November of 2023?
   7                 A        No, sir.         I don't remember.
   8                 Q        Do you recall having a meeting with George
   9      Pappas about time sheets ever?
 10                  A        No.    I don't remember.
 11                  Q        Do you recall Southern Road & Bridge
 12       issuing a warning for performance issues?
 13                  A        Yes.
 14                           MS. URIE:          Object to form.
 15       BY MR. BARROUKH:
 16                  Q        And could you tell me about that, please?
 17                  A        Yeah.      We were just simply told, you
 18       know -- the way I seen it is, if you're better at
 19       concrete than the other person, the other person is
 20       a better painter, try to keep everybody to where
 21       production is being made.
 22                           And if they're not performing or
 23       performing to the expectations, maybe they want to
 24       try doing concrete or maybe they want to try doing
 25       something else, so we would move them around if they

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   1      wanted to.            But as far as other stuff like that, no.
   2                 Q        And you never received any other warning
   3      or discipline from Southern Road & Bridge during the
   4      tenure of your employment with the company; correct?
   5                          MS. URIE:       Object to form.
   6                          THE WITNESS:          It was one.
   7      BY MR. BARROUKH:
   8                 Q        I'm sorry?
   9                 A        It wasn't ten years.                  It was only one.
 10                  Q        I'm sorry.        I said "tenure," for the
 11       duration of your employment.                          Not for ten years.                        Do
 12       you understand?
 13                  A        Oh, no.     Yes.
 14                  Q        And during your time as foreman for the
 15       company, did you ever make a report to human
 16       resources or to any of your supervisors or managers?
 17                           MS. URIE:       Object to form.
 18                           THE WITNESS:          No.
 19       BY MR. BARROUKH:
 20                  Q        Do you know if any employee, to your
 21       knowledge, made a report to human resources or a
 22       supervisor about unlawful activity?
 23                           MS. URIE:       Object to form.
 24                           THE WITNESS:          No.
 25       BY MR. BARROUKH:

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   1                 Q        How long were you unemployed for after
   2      Southern Road & Bridge?
   3                 A        About two months.
   4                 Q        Okay.      And when -- when did you leave the
   5      company?            Around what month or year?
   6                 A        Somewhere around November.
   7                 Q        Okay.      Do you recall that my clients were
   8      terminated by Southern Road & Bridge on November 6th
   9      of 2023?
 10                  A        I can't even remember, sir.                             I can't even
 11       remember when I came back home.
 12                           MS. URIE:          And I tried to object before
 13                  the answer, but I object to that question.
 14                           Sorry, Dawn.
 15       BY MR. BARROUKH:
 16                  Q        Did you have any involvement in Mr. Ford
 17       or Mr. Hawkins' termination?
 18                  A        No.
 19                           MS. URIE:          Object to form.
 20                           MR. BARROUKH:              What is the objection on
 21                  that question?
 22                           MS. URIE:          You are assuming facts not in
 23                  evidence.         The evidence -- you haven't
 24                  established that Mr. Ford and Mr. Hawkins have
 25                  been terminated during this deposition.

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   1      BY MR. BARROUKH:
   2                 Q        Okay.      Let me pull up another document for
   3      you.         We'll take some more time for this.
   4                          All right.           Isaac, I'm going to show you
   5      what I'm marking as Plaintiff's Exhibit 7.                                             Please
   6      let me know when you can see the document.
   7                          (Exhibit 7 was marked.)
   8                          THE WITNESS:             Yes, I can see it.
   9      BY MR. BARROUKH:
 10                  Q        All right.           Do you know what this document
 11       is?
 12                  A        Can you zoom in?
 13                  Q        Yes, sir.
 14                  A        Okay.
 15                  Q        Do you know what this document is?
 16                  A        Yeah.      A termination paper.
 17                  Q        All right.           And do you know what this
 18       document is saying?
 19                  A        Yeah.      Your termination.
 20                  Q        And who is being terminated?
 21                  A        Oh, I don't know.                  I can see -- I can see,
 22       to my thing, there's -- the name is spelled wrong.
 23       I don't know what letter -- the second letter is or
 24       the fourth letter but I'm guessing it says Nicholas.
 25                  Q        I think I would agree with you on that.

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   1      Good job.
   2                          No.    This, I can represent to you, is
   3      Nicholas Ford's termination notice.                                     Do you
   4      understand?
   5                 A        Yes.
   6                          MS. URIE:          Object to form.
   7      BY MR. BARROUKH:
   8                 Q        All right.           Now, it states, in this box,
   9      with a II, and it says "Voluntary termination" and
 10       in box III "Involuntary termination."                                       Beneath that,
 11       there's a box marked "Other" and it states "Job
 12       abandonment."
 13                           Do you see that?
 14                  A        Yes.
 15                  Q        Okay.      Now, underneath remarks, it says,
 16       "Was given the chance to come back to work, declined
 17       the offer via phone call on November 5th, 2023".
 18                           Do you see that?
 19                  A        Yes.
 20                  Q        Did you call Nicholas Ford to return to
 21       work on November 5th, 2023?
 22                  A        I can't even remember, sir.
 23                  Q        Do you have any recollection of Mr. Ford
 24       rejecting an offer by yourself to return to work?
 25                  A        Nicholas, when his -- when his mother

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   1      died, he just -- he saw things different and just --
   2      I don't know.            I understand he was probably hurt or
   3      something.            He -- then he had just gotten into a new
   4      relationship, so I don't know.
   5                          The last I heard of him, he had gotten a
   6      new job so maybe that's why he didn't want to come
   7      back to work.
   8                 Q        And when you say "the last I heard of
   9      him," is that in this November 2023 time frame, or
 10       is that a more recent update that you received?
 11                  A        I can't even remember when it was.
 12                  Q        All right.           Well, back to my question.                                Do
 13       you have any recollection of calling Mr. Ford in or
 14       around November of 2023 asking him to return to
 15       work?
 16                  A        I can't remember if I did or I didn't.
 17                  Q        Okay.      And now I'm showing you what I'm
 18       marking as Plaintiff's Exhibit 8.                                   Okay.          Let me
 19       know when you can see the document.
 20                           (Exhibit 8 was marked.)
 21                           THE WITNESS:             Yes, I can see it.
 22       BY MR. BARROUKH:
 23                  Q        And do you know what this document is?
 24                  A        It's the same termination paper.
 25                  Q        And who does the document reflect as being

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   1      terminated?
   2                 A         Alanzo.       Can you zoom in a little bit,
   3      please?
   4                           Alanzo Hawkins.
   5                 Q         Now, I can represent to you that when we
   6      requested the termination papers of Mr. Hawkins from
   7      opposing counsel, this is what was produced to my
   8      office.             Does that make sense?
   9                           MS. URIE:         Object to form.
 10                            THE WITNESS:            Yes.
 11       BY MR. BARROUKH:
 12                  Q         Now, this has been represented to be
 13       Mr. Alonzo Hawkins' employee termination notice.                                                   Do
 14       you understand?
 15                  A         Yes.
 16                  Q         All right.          Now, underneath the boxes II
 17       and III of "Voluntary termination" and "Involuntary
 18       Termination," there's a box checked next to
 19       "Absenteeism" that says "No call, no show, two days
 20       in a row."
 21                            Do you see that?
 22                            MR. BARROUKH:             Did we lose the witness.
 23                            Did we lose the witness?
 24                            CERTIFIED STENOGRAPHER:                        I think we did.
 25                            MS. URIE:         I think so.                I don't see him on

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   1                 here.
   2                          MR. BARROUKH:           All right.               Can we go off
   3                 the record, please?
   4                          (Off the record.)
   5                          CERTIFIED STENOGRAPHER:                      Okay.          Back on
   6                 the record.
   7                          MR. BARROUKH:           All right.               At this time,
   8                 the deponent is no longer on the call, we
   9                 believe for technical difficulties.                                  And the
 10                  plaintiff is noting their wish to continue the
 11                  deposition and adjourn this deposition for a
 12                  later date, still within the discovery period.
 13                           MS. URIE:       Counsel, do you want to
 14                  coordinate -- I'm sorry.                     Do you want to
 15                  coordinate a time on the record, or do you want
 16                  to set later -- at a later time?
 17                           MR. BARROUKH:           We can coordinate off the
 18                  record.      Is that all right?
 19                           MS. URIE:       It's all right as long as we,
 20                  you know, can work within our time frame.                                        I
 21                  know Brian's schedule is pretty hectic and, you
 22                  know, mine is too, so I just want to make sure
 23                  that we're willing to work with you but our
 24                  time window is narrow.
 25                           MR. BARROUKH:           I understand.                  I'm aware

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   1                 and I will be coordinating with you guys to
   2                 make this happen.
   3                          MS. URIE:       Okay.
   4                          MR. BARROUKH:           Okay.         Thank you.
   5                 That's -- that's the conclusion of the
   6                 deposition.        Thank you, Dawn.
   7                          CERTIFIED STENOGRAPHER:                      All right.               May I
   8                 get your transcript orders?
   9                          MR. BARROUKH:           We are not going to be
 10                  ordering at this time.
 11                           (The reading and signing of the deposition
 12                  is not waived.)
 13                           (At 4:25 p.m. the deposition was
 14                  concluded.)
 15

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   1                                CERTIFICATE OF OATH
   2

   3      STATE OF FLORIDA              )
   4      COUNTY OF PINELLAS )
   5

   6                 I, the undersigned authority, certify that
   7      ESEQUIEL RUIZ appeared before me remotely and was
   8      duly sworn.
   9                 WITNESS my hand and official seal this 1st day
 10       of May 2025.
 11

 12

 13                           _________________________________
                                     _______________
                              DAWN A. HILLIER
                                      HILLIER, RMR
                                               RMR, CRR, CLR
 14                           Notary Public - State of Florida
                              My Commission No.: HH 300744
 15                           Expires: 12-15-2026
 16

 17

 18

 19

 20

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 23

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   1                                        CERTIFICATE
   2

   3      STATE OF FLORIDA              )
   4      COUNTY OF PINELLAS )
   5                 I, DAWN A. HILLIER, RMR, CRR, CLR certify that
   6      I was authorized to and did stenographically report
   7      the deposition of ESEQUIEL RUIZ; that a review of
   8      the transcript was requested; and that the
   9      transcript is a true and complete record of my
 10       stenographic notes.
 11

 12                  I further certify that I am not a relative,
 13       employee, attorney, or counsel of any of the
 14       parties, nor am I a relative or employee of any of
 15       the parties' attorney or counsel connected with the
 16       action, nor am I financially interested in the
 17       action.
 18

 19                  DATED this 1st day of May 2025.
 20

 21

 22                           _________________________________
                              DAWN A. HILLIER, RMR, CRR, CLR
 23

 24

 25

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   1      May 1, 2025
   2

   3      IN RE:              FORD, ET AL. V. SOUTHERN ROAD & BRIDGE LLC
   4

   5      Dear Mr. Ruiz:
   6
               Herein, you will find the transcript of your
   7      deposition taken on April 17, 2025, and a Errata
          Sheet for your use in entering any changes to the
   8      deposition.
   9           Please do not edit or make marks on the
          transcript itself. If you desire to make any
 10       changes, they should be noted on the Errata Sheet.
          If no changes are to be noted, please indicate that
 11       on the Errata Sheet so counsel are aware that no
          changes were made.
 12
               After reading the transcript, please execute
 13       the Errata Sheet, including date and place of
          signing and return to Everest Court Reporting LLC at
 14       the address indicated below.
 15                  Thank you for your prompt attention.
 16

 17

 18       Sincerely,
 19

 20

 21       Dawn A. Hillier, RMR, CRR, CLR
 22                               Everest Court Reporting, LLC
                                 100 N. 18th Street, Suite 2001
 23                            Philadelphia, Pennsylvania 19103
                                          215.341.3616
 24

 25                                           ERRATA SHEET

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   1                 I, ESEQUIEL RUIZ, have read the foregoing pages
   2      of my deposition given on April 17, 2025 in the case
   3      of FORD, ET AL. V. SOUTHERN ROAD & BRIDGE LLC,
   4      3:24-cv-00404-MCR, and wish to make the following
   5      additions, deletions or corrections:
   6      PAGE LINE            CHANGE AND REASON FOR CHANGE
   7      ____ ____           _______________________________________
   8      ____ ____           _______________________________________
   9      ____ ____           _______________________________________
 10       ____ ____           _______________________________________
 11       ____ ____           _______________________________________
 12       ____ ____           _______________________________________
 13       ____ ____           _______________________________________
 14       ____ ____           _______________________________________
 15       ____ ____           _______________________________________
 16       ____ ____           _______________________________________
 17       ____ ____           _______________________________________
 18       ____ ____           _______________________________________
 19       ____ ____           _______________________________________
 20       ____ ____           _______________________________________
 21       ____ ____           _______________________________________
 22       ____ ____           _______________________________________
 23       ____ ____           _______________________________________
 24            In all other respects, the transcript is true
          and accurate.
 25                 _________________________________
                    ESEQUIEL RUIZ

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       WORD LIST              4:25 (2)                   actual (1)                      asking (3)
                              43 (1)                     Additional (2)                  asks (1)
 <1>                                                     additions (1)                   assign (2)
 1 (6)                        <5>                        address (2)                     assigned (1)
 100 (1)                      5 (5)                      adjourn (1)                     assigning (1)
 11 (1)                       500 (1)                    admitted (1)                    assisting (1)
 12:00 (1)                    520 (1)                    affirmative (1)                 assuming (1)
 12-15-2026 (1)               53 (1)                     afternoon (1)                   attendance (1)
 12th (1)                     54 (3)                     agency (2)                      ATTENDING (1)
 143 (1)                      56 (1)                     ago (1)                         attention (4)
 17 (3)                       58 (1)                     agree (2)                       attorney (5)
 18 (3)                       5th (2)                    ahead (4)                       attorney's (1)
 18th (2)                                                AL (2)                          audible (1)
 19 (1)                       <6>                        Alanzo (4)                      audio (3)
 19103 (1)                    6 (3)                      A-l-a-n-z-o (3)                 authority (1)
 19th (1)                     68 (1)                     Alanzo's (1)                    authorized (1)
 1st (2)                      6th (1)                    allegations (1)                 aware (4)
                                                         alleged (2)                     awfully (1)
 <2>                          <7>                        allergies (2)
 2 (3)                        7 (3)                      allow (6)                       <B>
 2:02 (1)                     700 (1)                    allowed (1)                     back (19)
 2:56 (1)                     76 (1)                     alongside (1)                   bags (1)
 20 (2)                       78 (1)                     ALONZO (20)                     BARROUKH (106)
 2001 (1)                                                A-l-o-n-z-o (1)                 based (3)
 2023 (9)                     <8>                        Alonzo's (3)                    bed (2)
 2024 (1)                     8 (3)                      amount (1)                      behalf (3)
 2025 (6)                     813 (1)                    ANNA (2)                        behaved (1)
 21 (1)                       82 (1)                     anna.ruie@csklegal.co           believe (13)
 215.341.3616 (1)             83 (1)                     m (1)                           beneath (2)
 21st (1)                     864-9324 (1)               answer (25)                     better (6)
 22 (1)                                                  answered (2)                    big (1)
 25th (1)                     <9>                        answering (1)                   bit (4)
                              946-1884 (1)               answers (1)                     black (7)
 <3>                                                     antidiscrimination (1)          blame (1)
 3 (4)                        <A>                        anybody (9)                     blaming (1)
 3:00 (1)                     a.m (1)                    anymore (2)                     blank (1)
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  (2)                         abiding (1)                appear (5)                      Bless (1)
 3:30 (1)                     ability (3)                APPEARANCES (1)                 blueprints (1)
 30 (1)                       able (4)                   appeared (2)                    boat (4)
 300744 (1)                   Absenteeism (1)            appearing (2)                   book (1)
 305 (1)                      absolutely (1)             appears (5)                     boss (1)
 33 (1)                       acceptable (1)             approve (1)                     Boulevard (1)
 33131 (1)                    accurate (1)               approved (1)                    box (4)
 33609 (1)                    accusation (1)             approximately (2)               boxes (1)
 39561 (1)                    accuse (1)                 April (3)                       break (4)
                              action (2)                 area (1)                        breaking (2)
 <4>                          activity (2)               argued (1)                      breaks (1)
 4 (3)                        acts (1)                   asked (3)                       Brian's (1)


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 Bridge's (2)                 clean (1)                  contractor (2)                  denote (1)
 brief (1)                    clear (6)                  cool (1)                        deny (2)
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 bring (7)                    clearly (2)                coordinating (1)                deponent (1)
 brother (1)                  client (2)                 copied (3)                      deposed (2)
 brown (1)                    clients (18)               correct (26)                    deposition (24)
 Buck (4)                     closest (1)                corrections (1)                 DEREK (1)
 budget (1)                   closure (1)                counsel (8)                     derogatory (1)
 build (1)                    CLR (4)                    counted (1)                     describe (1)
 bus (1)                      clue (2)                   COUNTY (2)                      desire (2)
 business (2)                 COLE (1)                   course (1)                      determine (1)
 buy (2)                      collect (1)                courses (1)                     Dezmond (20)
                              color (1)                  COURT (10)                      Dezmond's (1)
 <C>                          come (5)                   cousin (2)                      die (1)
 call (12)                    comfortable (1)            created (1)                     died (1)
 called (5)                   comments (1)               crew (24)                       different (8)
 calling (1)                  Commission (1)             CRR (5)                         difficulties (1)
 calls (1)                    committed (1)              current (1)                     directed (1)
 car (1)                      companies (4)              currently (1)                   discipline (1)
 carry (2)                    company (28)               curse (1)                       discover (1)
 cars (1)                     compensation (1)           cuss (1)                        discovery (1)
 CASE (9)                     complain (2)               cut (4)                         discrimination (16)
 cause (1)                    complained (1)             cutting (1)                     discriminatory (2)
 cease (1)                    complaint (3)                                              discuss (1)
 CEO (1)                      complaints (4)             <D>                             discussed (1)
 certain (4)                  complete (2)               daily (2)                       disrespectful (1)
 CERTIFICATE (4)              completed (1)              dangers (1)                     distortion (2)
 certifications (2)           completely (3)             DANIEL (4)                      DISTRICT (2)
 CERTIFIED (16)               completing (1)             danielb@dereksmithla            document (27)
 certify (3)                  computer (1)               w.com (1)                       documentation (1)
 cetera (2)                   concern (1)                dash (6)                        documents (1)
 chance (1)                   concluded (1)              DATE (6)                        doing (14)
 change (3)                   conclusion (1)             dated (2)                       dot (3)
 changes (4)                  concrete (7)               Dawn (8)                        downgrade (1)
 charger (1)                  conduct (1)                day (10)                        draft (1)
 CHARLOTTE (1)                confident (2)              days (2)                        drag (1)
 charlottemarie.manap         confidential (1)           day's (1)                       Drive (5)
 at-                          confirm (3)                deal (4)                        driver (1)
 nguyen@csklegal.com          confused (1)               Dear (1)                        driver's (3)
  (1)                         connected (1)              decide (1)                      driving (6)
 chat (2)                     connection (3)             decision (1)                    drug (2)
 checked (1)                  consider (2)               Declaration (4)                 drugs (2)
 choose (1)                   considered (1)             declare (1)                     due (1)
 chose (1)                    constructed (1)            declined (1)                    duly (2)
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 ears (1)                     failure (1)                friend's (3)                    hectic (1)
 easier (2)                   fair (5)                   full (1)                        he'd (3)
 Eastern (1)                  fairly (1)                 Further (2)                     Hello (1)
 eat (2)                      familiar (1)                                               helpful (2)
 edit (1)                     family (3)                 <G>                             helping (1)
 effect (1)                   far (3)                    gender (2)                      Hey (14)
 efficient (1)                fear (1)                   general (1)                     HH (1)
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 either (3)                   female (1)                 getting (3)                     higher-ups (1)
 elaborate (1)                fill (3)                   give (4)                        highlight (1)
 emergencies (1)              filled (2)                 given (3)                       Hillier (5)
 emergency (2)                financially (1)            giving (1)                      ho (1)
 employed (1)                 find (1)                   glasses (1)                     hold (2)
 Employee (9)                 fine (11)                  go (33)                         hole (3)
 employees (7)                finish (3)                 goal (4)                        home (2)
 employment (7)               finisher (1)               God (1)                         honestly (1)
 Enrique (2)                  fire (1)                   goes (4)                        hour (1)
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 Errata (5)                   fix (4)                    grabbing (1)                    human (3)
 error (2)                    fixing (1)                 great (1)                       hurt (2)
 ESEQUIEL (9)                 flatbed (2)                ground (2)                      hurted (2)
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 ESQUIRE (3)                  fly (1)                    grown (1)                       <I>
 established (1)              focus (3)                  guess (1)                       identical (1)
 et (4)                       folder (1)                 guessing (1)                    identify (1)
 ethnicity (2)                following (3)              guy (2)                         II (2)
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                              framing (3)                head (1)                        information (1)
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 internet (1)                 leave (14)                 matters (1)                     nights (1)
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 issuing (1)                  limited (1)                messages (3)                    November (8)
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                              listed (3)                 Miami (1)                       numbers (1)
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 Jesus (2)                    little (8)                 mine (2)                        <O>
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 judging (1)                  looking (1)                moment (1)                      occasions (1)
 June (1)                     looks (2)                  Monday (1)                      occur (1)
                              lose (2)                   money (4)                       offense (1)
 <K>                          losing (3)                 month (2)                       offer (2)
 keep (4)                     lot (4)                    months (4)                      office (4)
 keeping (1)                  lunch (5)                  morning (1)                     official (1)
 Key (2)                      lying (2)                  mother (1)                      Oh (7)
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                              managers (2)               nearly (1)                      ordered (1)
 <L>                          MANAPAT-                   necessarily (1)                 ordering (1)
 laborer (1)                  NGUYEN (1)                 need (8)                        orders (1)
 lag (1)                      manner (2)                 needed (8)                      OSHA (2)
 lane (1)                     marginally (1)             negative (1)                    outside (1)
 language (2)                 marked (10)                never (12)                      Overspeaking (5)
 Large (1)                    marking (8)                new (4)                         owed (1)
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 pages (3)                    presence (1)               racial (3)                      Reporter (4)
 paid (10)                    present (3)                racially (2)                    REPORTER'S (2)
 painter (2)                  Pretty (7)                 racism (3)                      reporting (5)
 paper (8)                    prevented (1)              racist (1)                      represent (12)
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 paperwork (1)                previous (1)               randomly (1)                    represents (1)
 Pappas (18)                  previously (5)             rare (1)                        request (1)
 Pappas's (2)                 print (1)                  rarely (1)                      requested (2)
 paragraph (8)                printer (1)                rate (1)                        require (1)
 PARTIES (4)                  prior (9)                  reach (1)                       requirements (2)
 pasted (1)                   probably (3)               reached (1)                     resources (3)
 pause (1)                    problem (5)                reacts (1)                      respects (1)
 pay (5)                      proceeding (1)             read (8)                        respond (1)
 paycheck (1)                 produced (5)               reading (3)                     response (4)
 Payroll (4)                  production (1)             ready (1)                       responsibilities (1)
 penalty (1)                  profanity (1)              real (2)                        responsible (7)
 Pennsylvania (1)             professional (1)           really (6)                      responsive (1)
 Pensacola (2)                profiled (1)               reason (10)                     restroom (9)
 people (15)                  profiling (1)              recall (19)                     retained (1)
 people's (2)                 projects (3)               receive (5)                     retaliate (1)
 perform (2)                  promise (1)                received (2)                    retaliation (2)
 performance (2)              prompt (1)                 recess (1)                      return (4)
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 period (1)                   proper (1)                 record (15)                     review (1)
 perjury (1)                  properly (1)               recurring (1)                   right (71)
 person (6)                   proprietor (1)             red (1)                         RMR (5)
 personal (7)                 provide (5)                refer (2)                       Roach (4)
 personally (4)               provided (2)               references (4)                  ROAD (50)
 Philadelphia (1)             Public (2)                 referring (1)                   room (2)
 phone (16)                   pull (3)                   reflect (1)                     rough (1)
 pick (4)                     PUNCTUATION (1)            reflected (1)                   row (1)
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 PLACE (2)                    purposes (3)               regards (8)                     RUIZ (29)
 Plaintiff (3)                put (1)                    regularly (1)                   rule (2)
 Plaintiffs (2)                                          reiterating (1)                 rules (1)
 Plaintiff's (10)             <Q>                        rejecting (1)                   run (2)
 please (31)                  qualified (1)              related (1)                     Ryan (11)
 PLLC (1)                     question (22)              relation (1)
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 position (5)                 quite (1)                  REMOTE (2)                      saw (4)
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 SCOTT (1)                    sitting (3)                subpoenaed (1)                  throw (1)
 screenshot (1)               situation (3)              sudden (3)                      TIME (85)
 scroll (4)                   six (4)                    sue (5)                         times (3)
 scrolled (1)                 slurs (1)                  suit (2)                        title (1)
 scrolling (1)                small (1)                  Suite (3)                       today (6)
 seal (1)                     SMITH (1)                  superintendent (3)              today's (8)
 second (11)                  snitching (2)              supervise (3)                   told (18)
 see (81)                     sole (1)                   supervising (2)                 tolerable (1)
 seeing (1)                   somebody (7)               supervisor (7)                  tools (4)
 seen (5)                     somebody's (3)             supervisors (1)                 top (1)
 self-proprietor (1)          sorry (22)                 supervisory (1)                 touching (1)
 send (1)                     sound (2)                  supposed (1)                    town (2)
 sending (2)                  sounded (1)                sure (21)                       tracking (3)
 sense (3)                    SOUTHERN (50)              sworn (2)                       trail-off (1)
 sent (6)                     speak (2)                                                  training (5)
 separated (1)                speaker (1)                <T>                             trainings (3)
 separation (1)               speaking (1)               take (14)                       Transcript (13)
 service (1)                  specifically (4)           taken (2)                       trash (1)
 set (1)                      spell (1)                  talk (5)                        treated (6)
 seven (2)                    spelled (9)                talking (1)                     Trevino (7)
 sexual (1)                   spelling (3)               Tampa (1)                       T-r-e-v-i-n-o (2)
 shake (1)                    spoken (2)                 task (2)                        tried (4)
 shape (2)                    spot (1)                   tasks (5)                       Trouble (4)
 sheet (21)                   SRB (13)                   team (6)                        truck (13)
 sheets (33)                  SRB's (2)                  technical (1)                   truck's (1)
 shift (1)                    stable (1)                 tell (20)                       true (7)
 shifting (1)                 staff (1)                  telling (1)                     truthfully (1)
 shit (1)                     start (4)                  tells (1)                       try (8)
 short (3)                    started (1)                ten (2)                         trying (5)
 show (14)                    State (4)                  tenure (4)                      turned (1)
 showed (1)                   stated (2)                 terminated (10)                 twice (2)
 showing (4)                  statement (3)              Termination (14)                twins (1)
 shown (1)                    STATES (9)                 terms (1)                       two (9)
 sic (1)                      status (1)                 tested (1)                      type (2)
 side (1)                     STENOGRAPHER               testified (2)
 sign (5)                      (14)                      testifying (1)                  <U>
 signature (5)                STENOGRAPHER'S             testimony (8)                   Uh-huh (2)
 signatures (4)                (2)                       testing (1)                     Um-hum (5)
 signed (12)                  Stenographic (2)           Texas (3)                       Um-um (1)
 significantly (1)            stenographically (1)       Text (17)                       underneath (2)
 signing (3)                  sticks (1)                 texted (1)                      undersigned (1)
 similar (1)                  stop (1)                   Thank (8)                       understand (28)
 simple (1)                   straightforward (1)        thing (5)                       understanding (2)
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 Sincerely (1)                street (2)                 think (11)                      unemployed (1)
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 unlawful (2)                 WITNESS (56)
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 update (1)                   Witt (13)
 URIE (84)                    won (1)
 urinate (1)                  word (11)
 use (7)                      words (3)
 usually (2)                  work (43)
                              worked (15)
 <V>                          worker (5)
 valuable (1)                 workers (3)
 vehicles (1)                 working (15)
 verbally (1)                 worries (3)
 verified (3)                 Worth (2)
 verify (1)                   write (4)
 video (1)                    writing (1)
 VIDEOCONFERENC               written (2)
 E (1)                        wrong (1)
 voluntarily (1)              wrote (1)
 Voluntary (2)
                              <Y>
 <W>                          ya'll (2)
 wages (1)                    yard (6)
 wait (1)                     Yeah (21)
 waived (2)                   year (4)
 walk (1)                     years (4)
 wallet (2)
 wanna (1)                    <Z>
 want (23)                    zoom (9)
 wanted (9)
 warning (3)
 water (1)
 way (10)
 week (4)
 weeks (1)
 week's (1)
 weird (3)
 welcome (1)
 well (14)
 went (3)
 we're (8)
 Westshore (1)
 we've (2)
 whatnot (3)
 white (3)
 wife (1)
 willing (1)
 window (1)
 wipes (1)


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